Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 1 of 78

EXHIBIT MM

Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 2 of 78

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_ UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA ”
“Ex Rel. |
"\VEN-A-GARE OF THE

FLORIDA KEYS, INC.

a Florida Corporation, .
by and through its principal. .
officers and directors, _
ZACHARY T. BENTLEY, « ~
T. MARK JONES,
JOHN M. LOCKWOOD AND.
LUIS E. COBO

. APOTHECON;
. BRISTOL-MYERS SQUIBB»
COMPANY;
DEY, INC.;
ROXANE LABORATORIES;

SCHERING-PLOUGH CORPORATION;

WARRICK PHARMACEUTICALS;

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Defendants.

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COMPLAINT ©
For Money Damages and Civil
Penalties Under the False Claims Act

31 u. S.C. 993728 732

. . COMPLAINT. .
FOR MONEY DAMAGES AND CIVIL PENALTIES UNDER THE FALSE

CLAIMS ACT 31 U.S.C. §§3729- 3732

COMES NOW, the UNITED STATES OF AMERICA CUNITED STATES” or.

“GOVERNMENT”, by and through VEN-A- CARE OF THE FLORIDA KEYS, INC. ( VEN-A-

CARE” or “the Relator’), and its principal officers and directors, ZACHARY T. BENTLEY,

T. MARK JONES, JOHN M. LOCKWOOD and LUIS E. COBO and by and through the

undersigned attorneys on behalf ofthe UNITED STATES and on the Relator’s own behalf and

Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 3 of 78

CIVIL ACTION NO.

brings this action against APOTHECON, INC., BRISTOL-MYERS SQUIBB COM PANY, DEY :
INC., ROXANE LABORATORIES INC., SCHERING-PLOUGH CORPORATION, WARRICK
PHARMACEUTICALS, (sometimes referred to collectively as "DEFENDANTS’), for money
damages and civil penalties arising out of the DEFENDANTS violations of the Federal False
Claims Act, 31 U.S.C., §§3729-3732 from on or about April 7, 1994, to the present date, |

SECTION NO. 1
SUMMARY OF THE ACTION

DRUG MANUFACTURERS’ FALSE PRICE REPRESENTATIONS
INVOLVING RETAIL PHARMACIES

1. This is an action for damages, treble damages, civil penalties and costs against
the DEFENDANTS for violation of the False Claims Act as set out in Counts | through VII,
pages 49 through 59, The DEFENDANTS falsely represented the prices that they charged
wholesalers for certain of their generic prescription drugs (hereinafter sometimes referred to
as the “specified drugs”) in order to cause various State Medicaid Programs to pay claims
in excessive amounts. More than half of the amounts paid consisted of federal funds from
which the States were required to pay claims based upon the drug’s Estimated Acquisition
Cost (“EAC”) to the pharmacy submitting the claim. 42 CFR §447.331.

2. The DEFENDANTS knew that each of the States’ Medicaid Programs had
implemented a mechanism to estimate acquisition cost of prescription drugs to the pharmacy
and that most states, including but not limited to Alabama, Colorado, Florida, Maryland,
Massachusetts, Ohio, Rhode Island, and Texas (hereinafter sometimes referred to as "WAC

STATES”) relied on the DEFENDANTS’ representation of the prices they charged

2
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 4 of 78

CIVIL ACTION NO.

wholesalers for the specified drugs. The DEFENDANTS false price representations were
made directly to the WAC STATES and other states by the DEFENDANTS and through F ist
Data Bank ("FDB), the company that assembles drug price data for the State Medicaid
Programs. :
3. The DEFENDANTS each knew that the WAC STATES’ Medicaid Programs
relied on the DEFENDANTS’ representations of the prices that the DEFENDANTS charged
wholesalers in setting the amount to be reimbursed to the pharmacy. This information was
used to determine the Wholesaler Acquisition Cost ("WAC") forthe specified drugs to which
a percentage was added to estimate the acquisition cost of the pharmacy purchasing from
the wholesaler. The DEFENDANTS reported truthful prices for most drugs .ad the States’
Medicaid Programs were thus able to accurately estimate acquisition costs when paying
claims. Inthe case of the specified drugs, however, the DEFENDANTS falsely inflated their
reports of the prices charged to wholesalers so that Medicaid pharmacy providers would be
paid excessive amounts and thus choose the specified drugs over competing generic
versions. :
4, . The DEFENDANTS each benefitted from their false price representations
because they were able to create a “Spread” between the inflated acquisition cost that they
caused the States to calculate and the reasonable and realistic estimate of acquisition cost
that the States intended to base payments of claims on. The “Spread” thus constituted an -

unlawful financial inducement arranged by the DEFENDANTS to cause their Medicaid

provider customers to order their specified drugs instead of their competitors’. The

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3
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 5 of 78

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CIVIL ACTION NO.
DEFENDANTS thus duped the WAC STATES’ and other states’ Medicaid Programs into |

paying claims for the specified drugs at inflated amounts in order to incréase the .
DEFENDANTS sales. The DEFENDANTS, in effect, lied about the price of their'specified
drugs in order to cause the States to expend Medicaid Program dollars to unwittingly fund
unlawful kickbacks to Medicaid providers.
5. The DEFENDANTS’ wrongful exploitation of the States’ Medicaid Programs
caused the UNITED STATES to incur single damages in excess of Ten Million Dollars for
which the United States and States’ Medicaid Programs are entitled to recover treble
damages plus up to Ten Thousand Dollars per false claim, interest, costs and attomeys' fees, .

SECTION NO. 2
THE PARTIES

6. The Plaintiff in this action is the UNITED STATES. Atall times material to this ,
civil action, the United States Department of Health and Human Services ("HHS") and the
Health Care Financing Administration ("HCFA"), were charged with administering the
Medicaid program.

7. The States of Alabama, Colorado, Florida, Maryland, Massachusetts, Ohio,
Rhode Island and Texas and other States provided Medicaid benefits to qualified recipients
which included payment of claims for the prescription drugs, specified herein, manufactured
by the DEFENDANTS and relied upon the false price representations made by the
DEFEN DANTS in approving and paying claims. A significant part (aminimun of 50%) of said

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i
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 6 of 78

CIVIL ACTION NO.

Medicaid reimbursement was paid from United States Government funds pursuant to 42
U.S.C. § 1396(b), :
8. The Relator, VEN-A-CARE, is a corporation organized under the laws of the
State of Florida, with its principal offices in Key West, Florida. The Relator’s principal officers
and directors include Zachary T. Bentley, T. Mark Jones, John M. Lockwood and Luis E. Cobo
who are each citizens of the United States and reside in Key West, Florida. The Relator is
a pharmacy providing prescription drugs andisa Florida Medicaid pharmacy provider. The
Relator has direct and independent knowledge of the information and is the "original source’
of the information on which these allegations are based within the meaning of 31 U.S.C,
§3730(e)(4)(A) and (B). The Relator has standing to bring this action pursuant to 31 USC
§3730(b)(1). The information upon which these allegations are based was voluntarily

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provided by the Relator to the Federal Government beginning on or before November 1 996

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and thereafter has been frequently supplemented by the Relator.
9. ~ Ven-A-Care's principals were aware that Medicaid reimbursement for the drugs
at issue was required by federal law to be based on an estimation of cost and not provide for
windfall profits at the GOVERNMENTS’ expense. Ven-A-Care attempted to alert the :
responsible state and federal government officials to the matters alleged herein; however, the
government agencies lacked sufficient resources and expertise to adequately respond.
Accordingly, the Relator commenced this action based upon its original source inform ation.

10. DEFENDANT, APOTHECON, INC. ("‘APOTHECON’), is a corporation

organized under the laws of Delaware with its principal offices in New York City, New York, |
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 7 of 78

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CIVIL ACTION NO.

and is a subsidiary of DEFENDANT BRISTOL-MYERS SQUIBB. Atalltimes material to this
civil action, APOTHECON has transacted business in the Federal Judicial District of
Massachusetts by, including, but not limited to, selling directly or through wholesalers its
specified prescription drugs in the District of Massachusetts knowing that the drugs would be
supplied to Medicaid recipients and for which claims would be paid from Medicaid funds.

11. DEFENDANT, BRISTOL-MYERS SQUIBB COMPANY ("BRISTOL-MYERS’) ~
"fila BRISTOL-MYERS COMPANY ("BRISTOL-MYERS') is a corporation organized under
the laws of Delaware with its principal offices in New York, New York. At all times material to
this civil action, BRISTOL-MYERS has transacted business in the Federal Judicial District of
Massachusetts by, including, but not limited to, selling directly or through wholesalers its
specified prescription drugs in the District of Massachusetts knowing that the drugs would be
supplied to Medicaid recipients and for which claims would be paid from Medicaid funds.

12. DEFENDANT, DEY, INC. f/k/a DEY LABORATORIES, INC. ("DEY"), is a
corporation organized under the laws of Delaware with its principal offices in Napa, California.
At all times material to this civil action, DEY has transacted business in the Federal Judicial
District of Massachusetts by, including, but not limited to, selling directly or through
wholesalers its specified prescription drugs in the District of Massachusetts knowing that the
drugs would be supplied to Medicaid recipients and for which claims would be paid from
Medicaid funds.

13. DEFENDANT, ROXANE LABORATORIES, INC. ("ROXANE"), is acorporation

organized under the laws of Delaware with its principal offices in Columbus, Ohio, anda _

6
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 8 of 78

as

CIVIL ACTION NO.

subsidiary of the Boehringer Ingelheim corporation. At all times material to this civil action,
ROXANE has transacted business in the Federal Judicial District of Massachusetts by,
including, but not limited to, selling directly or through wholesalers its specified prescription .
drugs in the District of Massachusetts knowing that the drugs would be supplied to Medicaid
recipients and for which claims would be paid from Medicaid funds.

14. DEFENDANT, WARRICK PHARMACEUTICALS CORPORATION
("WARRICK’), is a corporation organized under the laws of Delaware with its principal offices
in Reno, Nevada. SCHERING-PLOUGH CORPORATION, a corporation organized under the
laws of New Jersey, with its principal offices in Madison, New Jersey, is the corporate parent
of WARRICK and to the extent that the acts of WARRICK at issue herein were performed by
or otherwise attributable to SCHERING-PLOUGH CORPORATION, or any subsidiary or
affiliate of it then judgment should be entered against SCHERING-PLOUGH CORP ORATION
where appropriate. At all times material to this civil action, WARRICK has transacted .
business in the Federal Judicial District of Massachusetts by, including, but not limited to,
selling directly or through wholesalers its specified prescription drugs in the District of
Massachusetts knowing that the drugs would be supplied to Medicaid recipients and for which
claims would be paid from Medicaid funds.

15. Any and all acts alleged herein to have been committed by any or all of the
DEFENDANTS were committed by each Defendant's officers, directors, employees, or

agents who at all times acted on behalf of their respective DEFENDANT.
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 9 of 78

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CIVIL ACTION NO.

SECTION NO. 3
JURISDICTION & VENUE

16. Jurisdiction is founded upon the Federal False Claims Act (the “Act’), 31 U.S.C.
§3729-32, specifically 31 U.S.C. §3732, and also 28 U.S.C. §§1331, 1345.

17. | The Federal False Claims Act reaches the type of fraudulent activity alleged
herein in accordance with the express language of the Act as well as precedents arising from
applications of the present Federal False Claims Act and earlier versions. See, United States

v. Neifert-White Company, 390 U.S. 228; 88 S.Ct. 959 (1968). Specifically, the United States

Supreme Court's application of the Act in Neifert-White applies to this case as follows: -

A. “,.. the Act was intended to reach all types of fraud, without qualification,
that might result in financial loss to the Government.” 88 S.Ct., at 961.

B. The Act applies to the conduct of a manufacturer that supplies falsely
inflated price information in support of a customer's claim. 88 S.Ct., at 960.

C. The Act applies even where the price information supplied by the
DEFENDANTS is inflated by only approximately 25% over the truthful price. 88 S.Ct., at 960.

D. The Act applies even if the DEFENDANTS did not submit the false price
information directly to the Government and even though the DEFENDANTS received no
payment of funds from the Government.

-E. The Act applies even though the inflated portion of the price was .

received by customers of the DEFENDANTS who are not parties to the case. 88 S.Ct., at

960.
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 10 of 78

CIVIL ACTION NO.

18.°. Venue in the District of Massachusetts is appropriate under 31 U.S.C. §3732(a)
and sufficient contacts exist for jurisdiction in that each of the DEFENDANTS transacted
business in the District of Massachusetts by selling directly or through wholesalers their
specified prescription drugs in the District of Massachusetts which the respective
DEFENDANTS knew would be supplied to Medicaid recipients and for which the
DEFENDANTS knew that grossly excessive and unreasonable payments for claims would be
made to the pharmacies by the STATES’ Medicaid programs.

19. A copy of the Complaint and written disclosure of substantially all material
evidence and information VEN-A-CARE possesses were served on the Government pursuant
to Rule 4(i)(1)(A) and (B), Fed.R.Civ.P., prior to the filing of the initial Compiaint in camera and
under seal by delivering a copy of the summons, Complaint, material evidence and
information to the United States Attorney for the District of Massachusetts and by sendinga
copy of the summons, Complaint, material evidence and information by certified mail to the
Attorney General of the United States at Washington, District of Columbia.

20. The Relator alleges: (A) that no allegation or transaction of defrauding the
United States was made prior to the filing of the Complaint in public disclosures regarding the
subject matter herein against any ofthe DEFENDANTS; (B) that none of the DEFENDANTS
was named in public disclosures made prior to the filing of the Complaint regarding the
subject matter herein; and (C), if the Court makes a finding against the Relator as to the
allegations set forth in (A) and/or (B), that the Relator has direct and independent knowledge

of the information on which these allegations are based within the meaning of 31 U.S.C.

Q
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 11 of 78

CIVIL ACTION NO.

§3730(e)(4)(A) and (B) and has voluntarily provided the information to the Government before
filing the Complaint which is based on the information provided by the Relator to the
Government and the Relator is the original source.
21. Federal Court jurisdiction also exists over this cause for reasons which include,
but are not limited to, the following:

A) The RELATOR, due to its status as an industry insider, has acquired
substantial information that is of significant value to the Government about the DEFENDANTS’
false claims scheme and has provided said information to the Government in accordance with
the False Claims Act.

B) The RELATOR has expended substantial time, money and resources,
and has incurred substantial financial and other risks in reviewing its own information and in
acquiring, analyzing and disclosing to the Government its information about the.
DEFENDANTS’ false claims scheme, prior to commencing this action.

C) The remedies provided by the False Claims Act include, in part, an
award to the RELATOR for providing to the Government the information about the
DEFENDANTS false claims scheme thatis at issue in this action. Inorderto secure redress
of its right to.such award, the RELATOR has complied with the requirements of the False

Claims Act that it initiate this action under seal and disclose all its information to the

Government.
D) ‘This False Claims Act case constitutes the only lawful mechanism

whereby the RELATOR may receive redress in the form of compensation for providing

10
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 12 of 78

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CIVIL ACTION NO.

information‘about the DEFENDANTS false claims scheme and for assisting the Govemment
in recovering amounts paid, multiple damages and penalties.
E) The False Claims Act provides a mechanism whereby the RE LATOR
may secure redress for its cause of action, to wit, its right to compensation for benefitting the
Government through use of its information about the false claims scheme in the manner.
contemplated by the False Claims Act.
F) | TheRELATORisalso entitled, under the False Claims Act, to litigate the
Government's right to damages and penalties, arising from the false claims scheme and has
a stake in the outcome in that the RELATOR is entitled by the False Claims Act to share in ariy
recovery secured by or on behalf of the Government.
G) | TheDEFENDANTS each possess a substantial interest in disproving
the RELATOR'S allegations of violations of the False Claims Act and the RELATOR
possesses a substantial interest in proving said allegations, as well as the investment of the
RELATOR's costs and its overall compliance with the pre-filing and postfiling procedural and
jurisdictional provisions of the False Claims Act, because the determination of these issues

under the False Claims Act will establish whether:

(i) The DEFENDANTS violated the federal False Claims Act;

(ii) |§ The DEFENDANTS are liable for treble damages, penalties,
costs, RELATOR’s expenses and attorneys’ fees.

(iii) TheRELATORis entitled to redress in the form of com pensation

for providing its information about the false claims scheme to the

11
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 13 of 78

CIVIL ACTION NO.

Government and for assisting the Government in the manner
required by the False Claims Act: 7

(iv) The RELATOR is entitled to redress, on behalf of the
Government, in the form.of damages and penalties from the
DEFENDANTS.

(v) | The RELATOR is entitled to redress in the form of its relator's
share of the award of damages and penalties.

(vi) The RELATOR is entitled to redress in the form of com pensation .
for its expenses, incurrence of risk, and investment of time and
resources in acquiring and providing to the Government its __
‘information about the false claims scheme.

~ HA) In the event that the Government intervenes with respect to some or all
of the RELATOR’s allegations and claims, then the RELATOR is entitled to participate in the .
litigation to the extent and under the conditions specified in the False Claims Act and to further
pursue redress in the form ofits right to share in any award and receive compensation for its
costs and expenses.

1) In the event that the Government does not intervene with respect to some
or all of the RELATOR's allegations and claims, then the RELATOR’s causes of action
alleged herein are directed at further redress in that only by prevailing in litigation based on
its information about the false claims scheme will the RELATOR be able to seek: redress in

the form of deterrence of ongoing and future conduct injurious to the RELATOR; compensation

12
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 14 of 78

CIVIL ACTION NO.

for its information about the DEFENDANTS’ false claims scheme; compensation for the
assistance and benefit it provided to the Government; compensation for its expenses, risks
and devotion of time and resources in acquiring and providing information to the Govemment .
and compensation for establishing the DEFENDANTS ' liability for damages and penalties.

SECTION NO. 4
BACKGROUND OF HOW UNITED STATES’ MONIES
ARE PAID FOR DRUG CLAIMS UNDER
THE STATES’ MEDICAID PROGRAMS

22. The United States Government partially funds state sponsored medical
assistance programs for the poor pursuant to Title XIX of the Social Security Act, 42 U.S c.
§ 1396 et sea,

23. Benefits for prescription drugs are optional but all states have opted to provide
Medicaid drug reimbursement coverage.

24. The federal portion of States’ Medicaid payments, the Federal Medical
Assistance Percentage ("FMAP”) is based ona state’s per capita income compared to the .
national average. The federal portion consists of a minimum of 50% up to a maximum of
83%. By way of example, the FMAP contributed by the United States in 1995 was: Alabama
70.45%, Colorado 53.10%, Florida 56.28%, Maryland 50.0%, Massachusetts 50.0%, Ohio
60.69%, Rhode Island 55,49% and Texas 63.31%.

25. The States, United States Territories and the District of Columbia are required

to implement a State Health Plan containing certain specified minimum criteria for coverage

13
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 15 of 78

CIVIL ACTION NO.

and payment of claims in order to qualify for federal funds for Medicaid expenditures. 42
U.S.C. §1396a(a)(30)(A).

26. State Health Plans must, in part, provide for payment of claims for prescription
drugs pursuant to a formula approved by the Secretary of HHS which determines the
maximum allowable claim amount for each drug manufactured by each manufacturer whose
prescription drugs qualify for Medicaid reimbursement based upon an estimation of the
pharmacy's acquisition cost of the drug plus a reasonable dispensing fee. 42 CFR 447.331.

27. Drug manufacturers, including the DEFENDANTS, the Medicare and the
Medicaid Programs, drug price and cost reporting services, hospitals, pharmacies,
physicians, wholesalers, third party payors (e.g. insurance companies), and others involved .
in the health care industry, communicate about prescription drug prices and costs by
describing the price and cost with terms such as:

a) Average Wholesale Price (“AWP")
b) Wholesaler Acquisition Cost ("WAC")
Cc) List Price
_ d) Direct Price ("DP”)
e) Wholesale Net Price

28. HCFAhas approved state plans whose methodology formulae for arriving ata

pharmacy’s estimated acquisition cost as required by 42 CFR 447.331 includes: :
a. discounting a percentage off of the AWP prices as computed by or

collected by and published by First Data Bank ;

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44
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 16 of 78

CIVIL ACTION NO.

b. adding apercentage to the WAC prices as computed by or collected by
and published by First Data Bank ; and, _

c. the state of Texas which requires drug companies, including the’
DEFENDANTS, to certify directly in writing to the Texas vendor drug
program their prices,

29. The HCFA approved State plans for the WAC States at issue are:

Drug Dispensing Fee :
Alabama WAC+9.2% $5.40
Colorado lesser of AWP-10% or WAC+18% $4.08 :
Florida WAC#7% $423
Maryland WAC+10% $4.21
Massachusetts WAC+10% . $3.00 :
Ohio WAC+11% $3.70
Rhode Island and WAC+5% $2.85-$3.40
Texas direct certification of price $5.27 + 2%

by the drug companies
30. The Texas Medicaid Program has gone to exceptional lengths to verify that
drug manufacturers, including the DEFENDANTS, provide truthful price and cost information
for reimbursement purposes. The Texas Medicaid authorities, acting pursuant to 25 Texas
Administrative Code 35.801, required the DEFENDANTS to certify, in writing, the accuracy

of their price and cost representations as a condition to their drugs being covered for

15
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 17 of 78

CIVIL ACTION NO.

reimbursement. The Relators’ investigation has revealed that each of the DEFENDANTS, |
when responding to Texas, about their specified drugs, either affirmatively lied about their true
prices, or omitted material information in order to mislead the Texas Medicaid officials. ©

30. TheStateofTexaspays reimbursement for drugs covered by its Vendor Drug
Program at the lesser of the provider’s usual and customary charge or Estimated Acquisition
Cost ("EAC"). In Texas’ Pharmacy Provider Handbook, EAC is defined as either the
Wholesale Estimated Acquisition Cost ("WEAC’) or the Direct Estimated Acquisition Cost
("DEAC’). WEAC is the estimated price paid by providers purchasing a drug from a
wholesaler. DEAC is the estimated price paid by a provider purchasing the drug directly from
the drug’s manufacturer.

31. The State of Texas required the DEFENDANTS to complete a specific form
regarding the prices of their drugs. Immediately before the required signature by the
DEFENDANTS’ representatives is the following language:

“| hereby certify that the information submitted is correct to the best of my

knowledge... | also agree to inform the Texas Department of Health of any

changes in......price....within fifteen (15) days of such change.”
Attached hereto as Exhibit "1" is a true and correct copy of the current certification used by
Texas Medicaid.

32. The Food and Drug Administration (“FDA”) assigns National Drug Codes,
(“NDC”) numbers to identify each individual manufacturer andits drugs’ strengths and sizes.
NDC numbers are eleven digits, with the first five digits identifying the manufacturer or labeler,

the next four digits identifying the product and the last two digits identifying the package size.

16
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 18 of 78

a

CIVIL ACTION NO.

33, * F irst Data Bank ("FDB”) is anationally recognized company that specializes in
collecting and publishing drug data including pricing. FDB provides prices and costs for
approximately 80,000 different drugs, sizes and strengths expressed in terms of AWP and
WAC through an electronic or automated service. More than 90% of the States’ Medicaid
Pharmacy Programs utilized the AWPs and WACs as communicated by First Data Bank's
automated services in determining reimbursement amounts for Medicaid prescription dg
claims. .

34, . Pharmacies are required to utilize the FDA’s NDC numbers when submitting
claims for reimbursement for drugs to the States’ Medicaid programs.

35. Congress has attempted to assist the States’ Medicaid programs in limiting
reimbursement amounts for certain generic prescription drugs to a reasonable estimate of
acquisition cost by empowering the Health Care Financing Administration to set a Federal
Upper Limit (“FUL”) for drugs paid for by the Medicaid Programs. Under the plan, HCFAmay

impose a FUL on any generic drug pursuant to the following criteria :

a. Allformulations of the drug must have been evaluated as therapeutically -
equivalent by the FDA.
b. There are at least three (3) companies that list the drugs in current.

published compendia with their cost and the drugs must be available for sale nationally.
c. HCFA then finds the least costly generic as listed in all available national

compendia that can be purchased by pharmacies and multiplies this amount by 150%. This

17

Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 19 of 78

CIVIL ACTION NO.

amount then becomes the FUL forall manufacturers’ generic form of the drug orthe maximum |
amount a State Medicaid Program can pay.

37. Pharmacies are reimbursed for prescription drugs by the States’ Medicaid
Programs at the lower of:

i) the State’s HCFA approved plan (i.e. Massachusetts’ WAC+ 10%); or,

ii) the pharmacies usual and customary charges to the general public;or,

iii) the Federal Upper Limit ("FUL") plus a reasonable professional or
dispensing fee.

38. The vast majority of States award cost-reimbursement contracts to private
companies to evaluate and process Medicaid recipients’ claims for payment. The States -
refer to these contractors as fiscal agents.

39. Prescription drug claims are submitted in one of two ways. The first is by
submitting to the fiscal agent or state agency a completed (hard copy) pharmacy claim form.
The second is through an electronic claims filing procedure (on-line claims adjudication)
whereby the same information required to be included on the hard copy is transmitted .
electronically to the Medicaid fiscal agent or state agency.

40. Themajority ofthe DEFENDANTS’ drugs, including the specified drugs at issue
in this action, are distributed through drug wholesalers who resell and distribute the drugs to
hospitals, pharmacies, physicians and clinics.

41. Four companies, McKesson Drug, Cardinal, Bergen Brunswig and Ameri-

Source, comprise approximately eighty (80%) of the 53 billion dollar annual wholesale drug

18
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 20 of 78

te

CIVIL ACTION NO.

market. Wholesalers generally sell to any person or entity (i.e. pharmacies, physicians and
hospitals) who can lawfully purchase prescription drugs.

42. Wholesalers purchase the specified drugs at prices that are unilaterally set and
controlled by the DEFENDANTS. The wholesalers in tum add a percentage (commonly
referred to as an “up-charge”) to the price that they pay the DEFENDANTS. The“up-charge”
covers the wholesaler’s expenses such as warehousing, delivery, billing and collections and
provides a profit. The percentage of up-charge is negotiated between the pharmacy and the
wholesaler and is usually based of the pharmacy's purchasing volume. By way of example,
the Relator’s up-charge from McKesson is 6.5%

43. _ The DEFENDANTS aiso sell directly and indirectly to hospitals and retail
pharmacies through group purchasing organizations ("GPO’s") and buying groups. GPO's
and buying groups represent smaller providers and provide members with lower costs by
negotiating prices for specific drugs from the manufacturers. The GPO or buying group
memberis able to purchase the drugs at the GPO’s or buying group’s negotiated price either
directly from the manufacturer or from a wholesaler that has a “charge-back” agreement with
the specific manufacturer.

44, The DEFENDANTS’ “charge-back" arrangements with wholesalers allows the
DEFENDANTS to sell drugs, including some of the drugs at issue in this case, to the
wholesalers at a fictitiously inflated price. When a wholesaler sells a drug who's price has
been negotiated with aGPO orbuying group, the wholesaler is credited by the DEFENDANT

for the difference between the false price and the true price to the DEFENDANTS’ customer

19
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 21 of 78

a

CIVIL ACTION NO.

plus the agreed “up charge” for the wholesaler. The “charge-back” scheme allows the
DEFEN DANTS to utilize the services of the wholesalers while establishing the retail prices
for their drugs.

45. The"“charge-back’ schemes illustrated by the following example of the drug,
Nadolol 20mg, bottle of 100, NDC# 59772-2461-01, manufactured by DEFENDANT
APOTHECON/BRISTOL-MYERS and wholesaled through McKesson Drug Co. (“McKesson”):

a) McKesson’s March 2000 published wholesale price for Nadolo! 20mg,
bottle of 100, NDC# 59772-2461-01, is $29.48;

b) Ven-A-Care is a member of the Servall buying group. Servall is a
McKesson sponsored buying group that is available to any retail pharmacy that purchases
prescription drugs from McKesson;

C) Ven-A-Care's Servall buying group's price for Nadolol 20mg, bottle of
100, NDC# 59772-2461-01, is $7.93. Therefore, VAC can purchase a bottle of Nadolol
20mg 100's from McKesson for $8.45 which includes McKesson's 6.5% up-charge to Ven-A-
Care. This is $21.03 less than McKesson purportedly paid DEFENDANT

APOTHECON/BRISTOL-MYERS;

d) McKesson claims a  ‘“charge-back” from DEFENDANT
APOTHECON/BRISTOL-MYERS of $21.55 which represents the difference in price from what
McKesson paid ($29.48) versus the price McKesson sold it to VAC ($7.93), not including

McKesson's up-charge.

20
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 22 of 78

CIVIL ACTION NO.

46. ‘ In order to monitor the wholesalers’ compliance, the DEFENDANTS require all
drug wholesalers to periodically (generally quarterly) report back to the DEFENDANTS all
prescription drug Sales by NDC number, provider name and sales price.

47. Arepresentative example of this practice was demonstrated when VAC was
informed by a Glaxo sales representative that Glaxo and other drug manufacturers consider ::
this information vital in determining how and where to market their prescription drugs. The
Glaxo representative informed VAC that Glaxo prepared reports for every sales .
representative based on the information compiled from all wholesalers’ reports and that the
Glaxo report was broken down by postal zip code, provider, NDC number, quantity and sales
prices.

48. First Data Bankreceives and relies upon the drug manufacturers’, including the
DEFENDANTS’, representations of their drug prices and costs including the prices atwhich _
the DEFENDANTS sell their drugs to wholesalers (WAC) in determining the drug pricing data
that they report to the STATES. :

49, The Relator’s investigation has determined that the DEFENDANTS provide
First Data Bank with either the WAC price of its drugs or instructions, ifnecessary, expressed
in a manner that allows First Data Bank to establish the WAC.

50. . During the time covered by this complaint, First Data Bank has defined WAC
as "wholesaler acquisition cost” for a particular drug. A form entitled “New Product
Submission Form’ is provided by First Data Bank to drug manufacturers, including the

DEFENDANTS, to transmit information, including their prices, to First Data Bank. The form

21
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 23 of 78

a

CIVIL ACTION NO.

permits drug manufacturers to submit prices expressed in terms of Wholesale ( Distributor)
Price, Direct Price and AWP Price. Attached hereto is true and exact copy of said form as
Exhibit “2”.
51. The Relators information revealed that each of the DEFENDANTS had been
the source of the price and cost information which was reported by First Data Bank to the
STATES’ Medicaid Programs at all times at issue in this action. The Relator reported is
information to the Government, including specific identification of representatives of First Data
Bank to whom such information was reported.
52. The States' Medicaid Programs also receive price and cost representations
directly from the DEFENDANTS and use them to confirm-the accuracy of price and cost in
computing reimbursement amounts. Attached hereto as Composite Exhibit "3" are true and
correct copies of price representations made by DEFENDANTS WARRICK and ROXANE
to the State of Florida Medicaid Pharmacy Program on or about December 20, 1994 and
September 26, 1994. Attached hereto as Exhibit "4" is a true and correct copy of price
representations provided to Texas Medicaid by DEFENDANT WARRICK on or about March
6, 1997.
53. | Theimportance that drug manufacturers represent truthful costs and prices and

how these representations affect reimbursements is demonstrated by the following examples:

22
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 24 of 78

CIVIL ACTION NO.

DRUG BRISTOL-MYERS [| RELATOR'S FLORIDA DIFFERENCE
STRENGTH & REPORTED WAC ] COST MEDICAID BETWEEN RELATOR’S
SIZE, McKESSON — | PAYMENT COST & FLORIDA
NDC# 3/31/00 @ WAC+7% MEDICAID
REIMBURSEMENT
PRAVACHOL $174.96 $183.79 $187.21 $3.42 (under 2 %)
20mg. 90's Lo
00003-5178-05
DRUG BRISTOL-MYERS RELATOR'S FLORIDA DIFFERENCE
STRENGTH & REPORTED WAC | COST MEDICAID BETWEEN RELATOR'S
SIZE, McKESSON PAYMENT COST & FLORIDA
NDC# 3/31/00 @ WAC+7% MEDICAID
REIMBURSEMENT
MONOPRIL $66.96 $71.44 $71.65 $0.21 (under 1/2 %)
10mg. 90's
00087-0609-42
DRUG ROXANE'S RELATOR'S FLORIDA DIFFERENCE
STRENGTH & REPORTED WAC | COST "| MEDICAID BETWEEN RELATOR'S
SIZE, McKESSON PAYMENT COST & FLORIDA
NDC# 3/31/00 @ WAC+7% MEDICAID
REIMBURSEMENT
MARINOL $505.66 $539.48 $541.06 $1.60 or (under 1/2 %)
5mg. 100's
00054-2602-25
DRUG _ | SHERING/PLOUGH'S RELATOR’S | FLORIDA DIFFERENCE
STRENGTH & | REPORTED WAC COST MEDICAID BETWEEN RELATOR'S
SIZE, McKESSON PAYMENT COST & FLORIDA
NDC# 3/31/00 @ WAC+7% MEDICAID
REIMBURSEMENT
PROVENTIL $66.94 $70.78 $71.63 $0.85 or (under 2 %)
REPETAB
4 mg. 100's
00085-0431-02

23

Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 25 of 78

CIVIL ACTION NO.

54. -’ The representations of drug prices made by the DEFENDANTS to F irst Data
Bank and directly to the States’ Medicaid Programs are material for the establishment of
reasonable reimbursements to be made by the States’ Medicaid Programs.

SECTION NO. 5...
THE FALSE CLAIMS SCHEME

a.) A description of the False Claims Scheme.

55. The DEFENDANTS are each liable under the False Claims Act because they
caused the STATES’ Medicaid Programs to pay claims for certain of their generic .
prescription drugs in exorbitant amounts, far in excess of the reasonable reimbursement
permitted under the applicable statutes and regulations. The DEFENDANTS manufactured
and/or distributed the specified prescription drugs in this action and sold the specified
prescription drugs either directly to the pharmacies or indirectly through such intermediaries
as wholesalers and group purchasing organizations. The false claims for excessive
reimbursement were then submitted to the STATES’ Medicaid Programs by the
DEFENDANTS through their false price statements and by their customers (the pharmacies)
who thereby received a windfall financial benefit in the amount by which the Governments’
approved “reimbursement” exceeded a reasonable estimate of acquisition cost.

56. . The DEFENDANTS also caused the submission of false claims by actively
marketing their specified drugs to pharmacies by the use of financial inducements created by
“the Spread” between the DEFENDANTS true wholesale prices to the pharmacies and the

STATES’ Medicaid Programs reimbursements based on the DEFENDANTS '’ falsely inflated

24
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 26 of 78

CIVIL ACTION NO.

wholesale prices reported to the STATES’ Medicaid Programs and their subcontractors. The
financial inducements were in many cases enhanced by such things as free goods, discounts
and rebates.
57. ~The DEFENDANTS knew thatthe STATES’ Medicaid Programs would not pay
or approve claims for the specified drugs if it were disclosed to the STATES’ Medicaid
Programs that said claims were for amounts that included illegal remuneration prohibited by
the anti-kick back statutes, 42 U.S.C. §1 320a-7b(b)(2) and 1395nn(a)(1)(B). :
58. The DEFENDANTS also knew that pharmacies, in presenting claims for the
specified drugs to the STATES’ Medicaid Programs, would not and didnot disclose that the
claim amounts included the remuneration prohibited by 42 U.S.C. §1320a-7b(b)(2) and 1398
nn(a)(1)(B).
59. | Theclaims in question are each false claims under the False Claims Act, in part
because they were each supported by and the payment amount determined due to the false
and misleading price and cost information. provided by the DEFENDANTS for the .
Government's use in connection with their respective specified drugs. The false and
misleading representations of wholesale prices by the DEFENDANTS were material in that
the information was used in setting the STATES’ Medicaid reimbursementamounts andeach .
DEFENDANT acted knowingly, as defined in the False Claims Act, in providing the false and
misleading representations of wholesale prices that caused the STATES to pay claims forthe

DEFENDANTS’ drugs in excessive amounts. The wholesale prices provided by the

25
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 27 of 78

CIVIL ACTION NO.

DEFENDANTS were provided to cause the STATES’ Medicaid Programs to pay amounts
based on the information and thus constituted claims submitted to the Government,

60. False claims at issue in this action were also submitted to the STATES’
Medicaid Programs by or on behalf of the pharmacies that sought and received payment in
excessive amounts because of the false wholesale price representations made by the
DEFENDANTS directly or indirectly to the STATES’ Medicaid Programs. The specificfalse
claims are thus each and every claim submitted to the STATES’ Medicaid Programs for which
the payment amount was determined by use, in whole or to any degree, of the false and
misleading price representations of the DEFENDANTS. The false claims at issue number
in the tens of thousands and each claim is in the possession of the individual state’s Medicaid
Program or fiscal agent to which it was submitted. The Relator has identified the specific
false claims to the UNITED STATES by providing the truthful prices concealed from the
STATES by the DEFENDANTS for each drug, providing information about the
DEFENDANTS’ exploitation of the States’ Medicaid Programs through the use of financial
inducements forthe specified drugs, specific identification information aboutthe prescription .
drugs, and the specific false price representations in question.

61. |Thedamages sought herein include, but are not limited to, those arising from
the false claims for the specified drugs set out in Sections 6 through 9 and elsewhere
throughout this Complaint. The false claims for the specified drugs set out herein are alleged
to meet the specificity and particularity requirements for pleading under the Federal Rules of

Civil Procedure. The damages sought herein encompass all damages and penalties

26
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 28 of 78

CIVIL ACTION NO.

recoverable due to the false claim scheme of the DEFENDANTS alleged herein relating to
all drugs of all sizes about which false price and cost representations or records were used
in connection with, considered or made available in, caused, aided or otherwise affected the
presentment, payment or approval of false claims. These claims also encompass recovery
of the funds paid for false claims due to the DEFENDANTS!’ false drug price and cost
representations, regardless of the Government program that actually expended the funds, the
person orentity that ultimately received the funds or the person or entity from which the United
States ultimately recovers the funds.
b.) The DEFENDANTS each acted knowingly.

62. The DEFENDANTS are prohibited by the False Claims Act from making false
representations in connection with claims for Governmentfunds, are required by the Food and
Drug Act to report true prices and are prohibited by the Medicare and Medicaid Anti-Kickback
laws from. arranging financial inducements for providers.

63. | The patients and the States’ Medicaid Programs are not aware of the prices
actually paid for the specified drugs by the pharmacies presenting the claim for payment. The
DEFENDANTS concealed from the STATES’ Medicaid Programs price reductions occurring
due to competition in the marketplace and falsely and fraudulently represented drug prices that
far exceeded the truthful prices.

64.  Atalltimes material to this action, each of the DEFENDANTS acted “knowingly”

as that term is defined at 31 U.S.C. §3729(b) by: :

27
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 29 of 78

CIVIL ACTION NO.

* a) Causing the presentation of false and fraudulent claims for paymentor
approval by the States’ Medicaid programs and

b) Making and using false statements and/or records for the purpose of -
getting false or fraudulent claims approved or paid by the STATES’ Medicaid programs.

65. The DEFENDANTS were clearly placed on notice that their conduct would —
cause the STATES’ Medicaid programs to pay claims for the specified drugs in amounts —
exceeding that permitted by applicable law, in part, because:

a) Each of the DEFENDANTS was on notice of federal statutes and
regulations limiting payment of Medicaid claims for the specified drugs to an amount
necessary to cover the cost of the drug.

b) Each of the DEFENDANTS was on notice that the States’ Medicaid
programs were not authorized or permitted by applicable law to pay claims for the specified
drugs in excessive amounts.

Cc) Each of the DEFENDANTS was on notice that federal statutes and '
regulations prohibited them from making misleading representations about the specified
drugs, including misleading price or cost representations.

66. Eachofthe DEFENDANTS was onnotice that federal statutes and regulations
prohibited them from making misleading representations about the specified drugs, including

misleading price or cost representations:

28
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 30 of 78

fe te

CIVIL ACTION i.u,

a) Each of the DEFENDANTS is required to comply with the Federal Food,
Drug and Cosmetic Act, 21 U.S.C. §301 et. seq., and the regulations promulgated pursuant
thereto.

-b)’  Theprice and cost representations about the specified drugs constitute
advertising that is included in the “labeling” provisions of the Federal Food and Drug Act and
related regulations. 21 U.S.C. §§321; 352. -

Cc) Each of the DEFENDANTS is prohibited from disseminating any
information about their prices or costs of the specified drugs thatis “false or misleading in any
particular...” 21 U.S.C. §§352(a).

- d) Each of the DEFENDANTS was on notice that it possessed a duty to
assure that representations about prices and costs of the specified drugs were not :
misleading, taking into account:

“,.. not onlyrepresentations made or suggested by statement,

word, design, device, or any combination thereof, but also tothe

.extent to which the labeling or advertising fails to reveal facts

material in light of such representations’
21 U.S.C. §321(a).

e) The DEFENDANTS can and do make truthful representations of
wholesale prices for most of their other drugs.

67. Each DEFENDANT was onnotice that it was prohibited by federal statute from _
paying or causing the payment of, directly or indirectly, money or other financial benefit to
induce its customers to order the specified drugs when the Medicare or States’ Medicaid
Programs would be paying claims: 42 U.S.C. §1320a-7b(b)(2) and 42 U.S.C.
§1395nn(a)(1)(B).
29
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 31 of 78

CIVIL ACTION hw.

68. Notwithstanding the DEFENDANTS’ knowledge that the Government relied
upon the DEFENDANTS ' representations of price and cost and their knowledge of the _
applicable statutory requirements and prohibitions, each of the DEFENDANTS repeatedly,
systematically and falsely reported inflated wholesale prices as specified in Sections 6
through 9.

c.) The DEFENDANTS directly benefitted
through increased sales.

69. The DEFENDANTS benefit directly from their false pricing scheme by
maximizing their products’ sales volume while capturing market share. An example of how -
the DEFENDANTS directly benefit from their false pricing scheme is demonstrated by data
for the first quarter of 1997 from the State of Florida’s Medicaid Program setting out Florida -
Medicaid’s reimbursements paid to pharmacies for the drug Albuterol Sulfate, 0.083%
Solution (“Albuterol”), by DEFENDANTS DEY and WARRICK and their competing
manufacturers Geneva Zenith/Goldline.

70. Albuterol is a prescription drug which is administered by inhalation and is used
forthe treatment of many respiratory illnesses. First quarter, 1997, reimbursement data from
the State of Florida’s Medicaid Program demonstrates that the wider “the Spread” between
the true cost paid by providers versus the reimbursement paid by Medicaid the more a
specific manufacturer’s product will be utilized instead of a competitor's product. The
DEFENDANTS WARRICK and DEY and the pharmaceutical manufacturers Zenith/Goldline
and Geneva, have all made representations of Wholesale Acquisition Cost to the State of

Florida as set out in the chart below. Asa direct result of the false representations of prices

30
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 32 of 78

en ae

CIVIL ACTION iu.

and costs, the DEFENDANTS WARRICK and DEY caused the State of Florida's Medicaid
Program to.unwittingly pay more than one million dollars for the first quarter of 1997 over the
reasonable feimbursem ent amounts which the State intended to pay, The chart further sets
out the number of reimbursed claims, VEN-A-CARE's cost per ml and “the Spread” between
Medicaid reimbursement and true cost. A review of the chart clearly demonstrates that the
vast majority of providers utilize the manufacturer's pharmaceutical with the greatest “Spread”
between the true Wholesale Acquisition Cost and the inflated false Wholesale Acquisition
Cost reported by the pharmaceutical manufacturer.

FALSE PRICING SCHEME - “THE SPREAD”

FLORIDA MEDICAID REIMBURSEMENT (‘1st Quarter 1997)
ALBUTEROL SULFATE SOLUTION 0.083%

Manufacturer | VAC’s Florida The # of Reimbursement
Cost per © | Medicaid Spread | claims | paid by Florida
ml! Reimbursement Medicaid
per ml
Warrick $0.09 $0.35980 | $0.269 12,673 $763,595.42
Dey . $0.10 $0.3531 | $0.2531 9,792 $707,220.50
Zenith/Goldline $0.10 $0.2138 | $0.1138 102 $4,981.86
Geneva N/A $0.1787 | * 19 $1,278.08
TOTAL REIMBURSEMENT BY THE STATE OF FLORIDA $1,477,075.86
MEDICAID PROGRAM (January 1 through March 31, 1997)

The use of the spread to falsify claims is evidenced by the fact that WARRICK’s and

** | DEY’s customers will receive a greater windfall by purchasing their product than

they could if they somehow acquired the same product from Zenith/Goldline or
Geneva free of charge.

31

Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 33 of 78

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te

CIVIL ACTION Nu.

71. The grossly inflated payments unwittingly made by the States’ Medicaid
Programs not only served as an inducement to providers to purchase a particular
manufacturer's product but also served to drive over-utilization. The Relator, prior to filing the
Complaint, surveyed three national pharmacy providers of Albuterol to determine their
business practices for their sales of Albuterol to the Medicare and States’ Medicaid
Programs. The Relator’s principals used positions inan affiliated home health care company
to pose as an interested customer. The Relator determined that the payment of kickbacks
and/or split fees were common place between the pharmacies and home health care
companies who could provide the pharmacies with patient referrals. One marketing scheme
offered by one of the pharmacies was the automatic shipping of refills of Albuterol every month
without verifying continuing need with the patient or physician in orderto maximize the sales
of Albuterol and reimbursement.

d. The DEFENDANTS’ False Claim Scheme deprived
the Government of the protection of The Federal Upper Limits (“FUL”).

72. . A representative example of the DEFENDANTS’ efforts to deprive the
Government of the benefit of the Federal Upper Limit involves the drug Atenolol. In a letter
dated November 7, 1996, DEFENDANT APOTHECON/BRISTOL-MYERS made false price
representations about the company’s drug Atenolol to the State of Florida Medicaid Agency
(Attached hereto as Exhibit “5" is a true and correct copy of said letter). Application of
Florida's methodology of WAC plus 7%, to the prices represented by DEFENDANT
APOTHECON/BRISTOL-MYERS would have resulted in reimbursement for one hundred
(100) 50mg tablets, (old NDC #00003-5040-50, new NDC#62269-0256-24), of $59.65

32
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 34 of 78

ae fe

~ CIVIL ACTION nu.

(WAC = $55.75 + 7% = $59.65), plus the professional dispensing fee. However, Atenolol falls -
under the FUL program and its reimbursement was limited as of January, 1997, to $0:0464
per 50mg tablet or $4.64 per one hundred (100) 50mg tablets. :
73. After having been alerted to the false claim scheme by the: Relator,
representatives of the State of Florida's Medicaid Program refused to cover DEFENDANT
APOTHECON/BRISTOL-MYERS'’ generic Atenolol until such time as the State received from
DEFENDANT APOTHECON/BRISTOL-MYERS what the State considered to be
DEFENDANT APOTHECON/BRISTOL-MYERS' truthful prices for Atenolol. The fact that
Florida was not covering DEFENDANT APOTHECON/BRISTOL-MYERS Atenolol led to
complaints to DEFENDANT APOTHECON/BRISTOL-MYERS from pharmacies in Florida
who had dispensed DEFENDANT APOTHECON/BRISTOL-MYERS’ Atenolol to Florida
Medicaid recipients and whowere receiving denials for payment by Unisys, the State's fiscal
agent.
74. .Approximately one month later, a State of Florida official received a telephone
call from a person who stated he represented DEFENDANT APOTHECON/BRISTOL-
MYERS and requested immediate coverage of Atenolol. The Florida Medicaid official stated
she would not cover the drug unless she received truthful prices. The person who represented
DEFENDANT APOTHECON/BRISTOL-MYERS stated words to the effect, “What does it
matter? This drug is covered by the FUL program”. The Florida official stated that it did
matter as it could affect not only the reimbursement amount the State paid for Atenolol but
also, if all manufacturers followed DEFENDANT APOTHECON/BRISTOL-MYERS’ course

and conduct of making false pricing representations, it would cause the entire FUL program

33
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 35 of 78

oe ast

CIVIL ACTION .

to be set at inflated amounts and completely frustrate the Government policy implemented by
the FUL program.

75. Onlywhenit became clear to DEFENDANT APOTHECON/BRISTOL-MYERS’
representative that the Florida official was standing her ground, did DEFENDANT
APOTHECON/BRISTOL-MYERS provide a written disclosure dated December 5, 1996, of
_ the truthful prices, (Attached hereto as Exhibit “6" is atrue and exact copy of said letter),
Applying ‘Florida’s Medicaid reimbursement methodology to DEFENDANT
AP OTHECON/BRISTOL-MYERS’ truthful prices, the State pays $4.24 for one hundred (100)
50mg Atenolol tablets (WAC $3.96 + 7% = $4.24). The truthful prices saved the U.S. -
Government and the State of Florida $0.40 for each one hundred 50mg tablets.

76. The persistence of the Florida Medicaid representatives curtailed
DE FENDANT APOTHECON/BRISTOL-MYERS from circumventing the protections of the
FUL program and caused DEFENDANT APOTHECON/BRISTOL-MYERS to report a truthful

WAC to First Data Bank. The following table summarizes the above allegations:

DRUG APOTHECON APOTHECON/ FLORIDA MEDICAID FUL
STRENGTH & BRISTOL-MYERS | BRISTOL-MYERS PAYMENT @ TRUE

SIZE, ORIGINAL FALSE | TRUE WAC . WAC+7%

NDC#s REPORTED WAC

ATENOLOL $55.75 $3.96 $4.24 $4.64
50mg 100's

62269-0256-24

77. — The following Table illustrates reimbursements and the corresponding harm

caused to the STATES’ Medicaid programs as a result of DEFENDANT —

34
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 36 of 78

pe Oe

CIVIL ACTION |,

APOTHECON/BRISTO L-MYERS' false representations of wholesale prices for other drugs

covered by the FUL program.

DRUG, APOTHECON/ | RELATOR'S | MASSACHUSETTS DIFFERENCE .
STRENGTH & BRISTOL- COST @ _ MEDICAID “FUL” BETWEEN “FUL"

SIZE, MYERS WAC + 6.5% PAYMENTS 1/1/00 AND WHAT

NDC#s REPORTED (3/25/00) WITH TRUE MASSACHUSETTS

FALSE WACs WACs‘+10% MEDICAID SHOULD
. HAVE PAID
AMANTADINE. $29.26 - $10.12 $10.41 $17.62 $7.21
100mg 100's
62269-0211-24
CEFACLOR $156.40 $43.67 $44.91 $119.48 $74.57
250mg 100's
59772-7491-04
CEFACLOR $306.40 $86.27 $88.72 $239.85 $151.13
500mg 100's
59772-7494-04
ESTRADIOL $18.80 $11.48 $11.49 - $21.52 $10.03
0.5mg 100's
59772-0025-03
ESTRADIOL $25.06 $14.91 $15.33 $28.87 $13.54
1mg 100's
59772-0026-03
ESTRADIOL $36.59 $22.37 $23.00 $41.92 $18.92
2mg 100's
59772-0027-03
ETODOLAC $100.18 $35.79 $36.80 $59.32 $22.52
300MG 100's
62269-0360-24 -
SECTION NO. 6
THE SPECIFIC FALSE PRICE AND COST
REPRESENTATIONS OF DEFENDANT
APOTHECON/BRISTOL-MYERS
78. At various times from on or after April 7, 1994, and continuing through the

present date, DEFENDANT APOTHECON/ BRISTOL-MYERS knowingly caused the

35
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 37 of 78

wf

— CIVIL ACTION Nv.

STATES’ Medicaid programs to pay false or fraudulent claims for drugs specified in this
Section and further made or used false or fraudulent records and/or statements to get such
claims paid or approved. As a result of the said actions of DEFENDANT APOTHECON/
BRISTO L-MYERS and those persons and entities acting directly or indirectly in concert with
DEFENDANT APOTHECON/BRISTOL-MYERS, the STATES’ Medicaid Programs paid
grossly excessive, unreasonable and unlawful amounts for claims for the drugs specified in .
_ this Section. The acts committed by DEFENDANT APOTHECOW/ BRISTOL-MYERS that
caused the STATES’ Medicaid Programs to pay or approve said false or fraudulent claims -
included, but were not necessarily limited to, knowingly making false or fraudulent
representations about the wholesale prices of the drugs specified in this Section which
DEFENDANT APOTHECOW/ BRISTOL-MYERS knew would be relied upon by the STATES’
Medicaid Programs in paying or approving claims for the drugs specified in this Section.
Each of said representations were material and were relied upon by the STATES’ Medicaid
Programs in paying or approving claims for the drugs specified in this Section.

79. DEFENDANT APOTHECOWN/ BRISTOL-MYERS knowingly caused its false or
fraudulent wholesale price representations to be transmitted by First Data Bank's automated
services and further made or used false records or statements regarding its wholesale prices
and of the drugs specified in this Section and submitted same to the STATES’ Medicaid
Programs continuously throughout the years specified in this Section. For the purposes of
specificity and particularity, the said false wholesale prices as they are currently reflected in
First Data Bank's automated services have been organized into a chart form for each drug

in question and for each NDC number assigned to each drug in question. The information

36
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 38 of 78

te

CIVIL ACTION NO.

provided under the columns for DEFENDANT'’S published wholesale price reflects the false
price representations made by DEFENDANT APOTHECON/BRISTOL-MYERS.' The
information under the Relator’s Cost columns reflects the true price that DEFENDANT

charged the Relator for the drug or caused another entity to charge the Relator for the drug.

‘DRUG APOTHECON/BRISTOL-MYERS RELATOR'’S COST
STRENGTH & SIZE, FALSE REPORTED WAC (in or about March 2000)
NDC#s .

ALBUTEROL INHALATION $15.79 $4.61
AEROSOL 17 gm
59772-6175-01

AMANTADINE $29.26 $10.12
HCL 100mg 100's
62269-0211-24

AMOXICILLIN $34.73 $8.36
500mg 100's
00003-0109-55

CAPTOPRIL de $48.31 $2.13
12.5 mg 100's
59772-7045-01

CAPTOPRIL $52.22, $2.66
25mg 100's_. ,
59772-7046-01

CAPTOPRIL $119.25 $8.52
100mg 100's_ .
59772-7048-01

CEFACLOR $156.40 $43.67
250mg 100's
§9772-7491-04

CEFACLOR $306.40 $86.27
500mg 100's
59772-7494-04

CEPHALEXIN $47.50 $7.04
250mg 100's
00003-0749-50

CEPHALEXIN $93.10 $14.62
500mg 100's
00003-0874-50

37
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 39 of 78

CIVIL ACTION Nv.

DRUG
STRENGTH & SIZE,
NDC#s

APOTHECON/BRISTOL-MYERS
FALSE REPORTED WAC

RELATOR'S COST
(in or about March 2000)

DOXYCYCLINE
100mg
59772-0940-01

$50.14

$334...

ESTRADIOL
0.5mg 100's
§9772-0025-03

$18.80

$11.18

ESTRADIOL
img 100's
§9772-0026-03

$25.06

$14.91

ESTRADIOL
2mg100's |
59772-0027-03

$36.59

$22.37

ETODOLAC
300MG 100's
62269-0360-24

$100.18.

$35.79

POTASSIUM CHLORIDE
10 mEq (750 mg) 100's
59772-6910-01

$13.06

$3.23

80.  Forthe purposes of specificity and particularity, the said false price andcost

representations, as they were submitted to the State of Texas on or after April 7, 1994, have

been organized into a chart form for each drug by name, NDC Number, Texas Medicaid

Payment Amount, RELATOR'’S cost, the gross profit and the gross profit expressed as a

percentage. The amount listed under the RELATOR'’S Cost column reflects the true price that

DEFENDANT APOTHECON/BRISTOL-MYERS charged the RELATOR for the drug or

caused another entity to charge the RELATOR for the drug. Accordingly, a comparison of the

RELATOR’S true costs with the price and cost representations made by the DEFENDANT

APOTHECON/BRISTOL-MYERS establishes the falsity of DEFENDANT

APOTHECON/BRISTOL-MYERS representations for the specified drugs. The materiality of

38

Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 40 of 78

CIVIL ACTION. J.

the false statements and misrepresentations of material fact is reflected in the gross profit
between the true cost to the RELATOR and the amount paid by Texas Medicaid in-reliance -
_ on information reported by DEFENDANT APOTHECON/BRISTOL-MYERS in that Texas
Medicaid intended to pay an amount based upon estimated acquisition cost that would not

include such gross profit:

DEFENDANT APOTHECOW/ BRISTOL-MYERS
Drug NDC # WEAC Relators Cost | WEAC WEAC
DEAC _| (in or about Provider's Provider's
March 2000) Gross Profit Gross
$ Profit %
DEACG DEAC
Provider's Provider's
Gross Profit Gross
$ Profit % -
Albuterol 59772-6175-02 $1.12922/gm $5.00 $14.20 284%
17 gm $19.20 $13.04 261%
oS $1.06118/gm
$18.04
Cefadroxil §9772-7271-04 $2.57880/ea $82.90 "| $174.98 211%
500mg 100's $257.88 $159.47 192%
$2.42370/ea
$242.37
Cefaclor 59772-7490-04 $.16724/mi $9.27 $15.81 171%
125 mg/ 5 mi $25.08 $14.31 154%
150 mi $.15720/ml
$23.58
Captopril/ 59772-5160-05 $.61009/ea $19.17 $41.83 | 218%
HCTZ $61.00 $41.28 215%
25 mg-15 mg $.60450/ea
100's $60.45

39
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 41 of 78

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CIVIL ACTION. 4.

DEFENDANT APOTHECOW/ BRISTOL-MYERS
Drug NDC # WEAC Relator’s Cost | WEAC WEAC
DEAC __| (nor about Provider's Provider's
March 2000) Gross Profit . | Gross
$ Profit %
DEAC DEAC
Provider's Provider's
Gross Profit Gross
$ Profit %
Captopril/ 59772-5163-05 $1.04784/ea $25.94 . $78.84 304%
HCT2Z $104.78 $77.87 300%
50 mg-25 mg $1.03810/ea
100's $103.81
Estradiol 59772-0027-03 $.40985/ea $22.37 $18.61 83%
2 mg 100's $40.98 $16.15 72%
$.38520/ea
$38.52
Potassium 59772-6910-01 $.14627/ea $3.50 $11.12 318%
Chloride $14.62 $10.24 293%
10 mEq 100's $.13740/ea
$13.74
Potassium 59772-6910-02 $.14313/ea $28.90 $114.23 | 396% —__
Chloride $143.13 $105.63 365%
10 mEq 1000's $.13453/ea
$134.53

81. As a direct and proximate result of the actions of the DEFENDANT
APOTHECOW/ BRISTOL-MYERS alleged herein, the United States has sustained damages
_ recoverable under the False Claims Act, together with treble damages, penalties, attomeys’

fees and costs.

SECTION NO. 7
THE SPECIFIC FALSE PRICE AND COST
REPRESENTATIONS OF DEFENDANT DEY

82. At various times from on or after April 7, 1994, and continuing through the
present date, DEFENDANT DEY knowingly caused the STATES’ Medicaid programs to pay

40
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 42 of 78

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CIVIL ACTION ..0.

false or fraudulent claims for drugs specified in this Section and further made or used false
or fraudulent.records and/or statements to get such claims paid or approved. As aresult of
the said actions of DEFENDANT DEY and those persons and entities acting directly or
indirectly in concert with DEFENDANT DEY, the STATES’ Medicaid Programs paid grossly
excessive, unreasonable and unlawful amounts for claims for the drugs specified in this
Section. The acts committed by DEFENDANT DEY that caused the STATES’ Medicaid
Programs to pay or approve said false or fraudulent claims included, but were not necessarily
limited to, knowingly making false or fraudulent representations about the wholesale prices
of the drugs specified in this Section which DEFENDANT DEY knew would be relied upon by
the STATES’ Medicaid Programs in paying or approving claims for the drugs specified in this
Section. Each of said representations were material and were relied upon by the STATES’
Medicaid Programs in paying or approving claims for the drugs specified in this Section,
83. DEFENDANT DEY knowingly caused its false or fraudulent wholesale price
representations to be transmitted by First Data Bank’s automated services and further made
or used false records or statements regarding its wholesale prices and of the drugs specified
in this Section and submitted same to the STATES’ Medicaid Programs continuously
throughout the years specified in this Section. For the purposes of specificity and particularity
the said false wholesale prices, as they are currently reflected in First Data Banks automated
services, have been organized into a chart form for each drug in question and for each NDC
number assigned to each drug in question. The information provided under the columns for
Defendant's published wholesale price reflects the false price representations made by

DEFENDANT DEY. The information under the Relator’s Cost columns reflects the true price

44
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 43 of 78

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CIVIL ACTIO). ..0.

that DEFENDANT charged the Relator for the drug or caused another entity to charge the

Relator for.the drug.
__— _. - we
DRUG DEY’s REPORTED FALSE RELATOR'S COST
STRENGTH & SIZE, WACs (in or about March-:2000)

NDC#s

ALBUTEROL INHALATION $5.99 $2.90

AEROSOL 17 gm

49502-0303-17

ALBUTEROL INHALATION $5.74 $2.99

AEROSOL (refill) 17 gm

49502-0303-27 __ _

84. Forthe purposes of specificity and particularity, the said false price and cost
representations as they were submitted to the State of Texas on or after April 7, 1994 have
been organized into a chart form for each drug by name, NDC Number, Texas Medicaid
Payment Amount, RELATOR'S cost, the gross profit and the gross profit expressed as 2
percentage. The amount listed under the RELATOR'S Cost column reflects the true price that
DEFENDANT DEY charged the RELATOR'S for the drug or caused another entity to charge
the RELATOR’S for the drug. Accordingly, acomparison of the RELATOR'S true costs with
the price and cost representations made by the DEFENDANT DEY establishes the falsity of
DEY’s representations for the specified drugs, The materiality of the false statements and
misrepresentations of material fact is reflected in the gross profit between the true cost to the
RELATOR’S and the amount paid by Texas Medicaid in reliance on information reported by
DEY in that Texas Medicaid intended to pay an amount based upon estimated acquisition

cost that would not include such gross profit:

42
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 44 of 78

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CIVIL ACTION NO.

DEFENDANT DEY
Drug NDC # WEAC Refator’s Cost | WEAC WEAC
DEAC (in or about Provider's Provider's '
March 2000) | Gross Profit ; | Gross
$ Profit %
DEACG DEAC
Provider's Provider's
Gross Profit Gross
$ Profit %
Albuterol 49502-0303-17 $0.39520/gm $3.81 131%
17 gm $6.71 | $2.90 $3.09 106%
. $0.352940/gm
$5.99
Albuterol 49502-0303-27 $0.378810/gm $3.45 115%
refill $6.44 $2.99 $2.76 92%
$0.338230/gm
$5.75

85. Asadirect and proximate result of the actions of the DEFENDANT DEY alleged
herein, the United States has sustained damages recoverable under the False Claims Act, .
together with treble damages, penalties, attorneys’ fees and costs.

SECTION NO. 8
THE SPECIFIC FALSE PRICE AND COST
REPRESENTATIONS OF DEFENDANT ROXANE

86. At various times from on or after April 7, 1994, and continuing through the
present date, DEFENDANT ROXANE knowingly caused the STATES’ Medicaid programs
to pay false or fraudulent claims for drugs specified in this Section and further made orused |
false or fraudulent records and/or statements to get such claims paid or approved. As aresult .
of the said actions of DEFENDANT ROXANE and those persons and entities acting directly
or indirectly in concert with DEFEN DANT ROXANE, the STATES’ Medicaid Programs paid .

grossly excessive, unreasonable and unlawful amounts for claims for the drugs specified in

43
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 45 of 78

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CIVIL ACTIO. JO.

this Section. The acts committed by DEFENDANT ROXANE that caused the STATES’
Medicaid Programs to pay or approve said false or fraudulent claims included, but were not
necessarily limited to, knowingly making false or fraudulent representations about the
wholesale prices of the drugs specified in this Section which DEFENDANT ROXANE knew -
would be relied upon by the STATES’ Medicaid Programs in paying or approving claims for
the drugs specified in this Section. Each of said representations were material and were
relied upon by the STATES’ Medicaid Programs in paying or approving claims forthe drugs -
specified in this Section.
87. DEFENDANT ROXANE knowingly caused its false or fraudulent wholesale
price representations to be transmitted by First Data Bank's automated services and further
made or used false records or statements regarding its wholesale prices and of the drugs
specified in this Section and submitted same to the STATES’ Medicaid Programs
continuously throughout the years specified in this Section. For the purposes of specificity and
particularity, the said false wholesale prices as they are currently reflected in First Data Bank's
automated services have been organized into a chart form for each drug in question and for
each NDC number assigned to each drug in question. The information provided under the
columns for Defendant's published wholesale price reflects the false price representations
made by DEFENDANT ROXANE. The information under the Relator’s Cost columns reflects
the true price that DEFENDANT charged the Relator for the drug or caused another entity to

charge the Relator for the drug.

44
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 46 of 78

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CIVIL ACTION .1O.

DRUG ROXANE REPORTED FALSE RELATOR'S COST
STRENGTH & SIZE, WACs (in or about March 2000)
NDC#s . .
IPRATROPIUM BROMIDE $15.45 $12.95 |
2.5ml 25's
00054-8402-11

88. For the purposes of specificity and particularity, the said false price and cost »
representations as they were submitted to the State of Texas on or after April 7, 1994 have
been organized into a chart form for each drug by name, NDC Number, Texas Medicaid .
Payment Amount, RELATOR’S cost, the gross profit and the gross profit expressed as a
percentage. The amount listed under the RELATOR'S Cost column reflects the true pricethat
Defendant ROXANE charged the RELATOR forthe drug or caused another entity to charge
the RELATOR for the drug. Accordingly, a comparison of the RELATOR’S true costs with the
price and cost representations made by the DEFENDANT ROXANE establishes the falsity
of DEFENDANT ROXANE's representations for the specified drugs. The materiality of the
false statements and misrepresentations of material fact is reflected in the gross profit
between the true cost to the RELATOR and the amount paid by Texas Medicaid in reliance
on information reported by DEFENDANT ROXANE in that Texas Medicaid intended to pay

an amount based upon estimated acquisition cost that would not include such gross profit:
|
I.

45
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 47 of 78

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CIVIL ACTION NO.

DEFENDANT ROXANE
Drug NDC # WEAC RELATOR'S WEAC WEAC
ae
DEAC COST Provider's Provider's
(in or about Gross Profit - | Gross
March 2000) $ Profit %
DEAC DEAC
Provider's Provider's
Gross Profit Gross
$ Profit %
Ipratropium 00054-8402-11 0.36736/ml $11.72 $11.24 96%
Bromide $22.96 10.83 93%
2.5 mi, 25's .3608/mi ‘
$22.55
Ipratropium . 00054-8402-24 0.36736/ml $26.98 96%
Bromide $55.10 $28.12 $26.00 93%
2.5 mi, 60's .360800/mi
$54.12

89. Asadirect and proximate result of the actions of the DEFENDANT ROXANE

alleged herein, the United States has sustained damages recoverable under the False Claims .
. |

Act, together with treble damages, penalties, attorneys’ fees and costs.

SECTION NO. 9
THE SPECIFIC FALSE PRICE AND COST
REPRESENTATIONS OF DEFENDANT
WARRICK

90. At various times from on or after April 7, 1994, and continuing through the -

present date, DEFENDANT WARRICK knowingly caused the STATES’ Medicaid programs

to pay false or fraudulent claims for drugs specified in this Section and further made or used
false or fraudulent records and/or statements to get such claims paid or approved. As aresult
of the said actions of DEFENDANT WARRICK and those persons and entities acting directly
or indirectly inconcertwith DEFENDANT WARRICK, the STATES’ Medicaid Programs paid
grossly excessive, unreasonable and unlawful amounts for claims for the drugs specified in

46
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 48 of 78

of

CIVIL ACTION WO.

this Section. The acts committed by DEFENDANT WARRICK that caused the STATES’
Medicaid Programs to pay or approve said false or fraudulent claims included, but were not
necessarily limited to, knowingly making false or fraudulent representations about the
wholesale prices of the drugs specified in this Section which DEFENDANT WARRICK knew
would be relied upon by the STATES’ Medicaid Programs in paying or approving claims for .
the drugs specified in this Section. Each of said representations were material and were
relied upon by the STATES’ Medicaid Programs in paying or approving claims for the drugs
specified in this Section. .
94. DEFENDANT WARRICK knowingly caused its false or fraudulent wholesale
price representations to be transmitted by First Data Bank’s automated services and further
made or used false records or statements regarding its wholesale prices and of the drugs
specified in this Section and submitted same to the STATES’ Medicaid Programs
continuously throughout the years specified in this Section. For the purposes of specificity and
particularity, the said false wholesale prices, as they are currently reflected in First Data .
Bank's automated services, have been organized into a chart form for each drug in question
and for each NDC Number assigned to each drug in question. The information provided
under the columns for Defendant's Published Wholesale price reflects the false price
representations made by DEFENDANT WARRICK. The information under the Relator's Cost
columns reflects the true price that DEFENDANT charged the Relator for the drug or caused

another entity to charge the Relator for the drug.

47
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 49 of 78

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CIVIL ACTION NO.

: ene
DRUG WARRICK's REPORTED WAC RELATOR'S COST
STRENGTH & SIZE, (in or about March 2000)
NDC#s “
nT
ALBUTEROL INHALATION $10.71 $2.58
|] AEROSOL 17 gm

59930-1560-01

ALBUTEROL INHALATION $9.99 $2.49
AEROSOL (refill) 17 gm
§9930-1560-02

92. Forthe purposes of specificity and particularity, the said false price and cost

representations as they were submitted to the State of Texas on or after April 7, 1994 have

been organized into a chart form for each drug by name, NDC Number, Texas Medicaid -

Payment Amount, RELATOR’S cost, the gross profit and the gross profit expressed as a
percentage. The amount listed under the RELATOR’S Cost column reflects the true price that
DEFENDANT WARRICK charged the RELATOR for the drug or caused another entity to
charge the RELATOR for the drug. Accordingly, a comparison of the RELATOR'S true costs
with the price and costrepresentations made by the DEFENDANT WARRICK establishes the
falsity of WARRICK’s representations for the specified drugs. The materiality of the false
statements and misrepresentations of material fact is reflected in the gross profit between the
true cost tothe RELATOR and the amount paid by Texas Medicaid in reliance on information
reported by.WARRICK in that Texas Medicaid intended to pay an amount based upon

estimated acquisition cost that would not include such gross profit: LO

48
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 50 of 78

CIVIL ACTION wwO.

DEFENDANT WARRICK
Drug . _ | NDC# WEAC Relator's Cost | WEAC WEAC
DEAC (in or about Provider's Provider's
March 2000) | Gross Profit ..! Gross
$ Profit %
Ss OS
DEAC DEAC
Provider's Provider's
Gross Profit Gross
$ Profit %
Albuterol §9930-1560-01 $0.705600/gm $2.58 $9.41 365%
17 gm $11.99
Albuterol 59930-1660-02 $0.652230/gm | $2.49 $8.60 345%
refill $11.09 —_—

93. Asadirect and proximate result of the actions of the DEFENDANT ROXANE
alleged herein, the United States has sustained damages recoverable under the False Claims

Act, together with treble damages, penalties, attorneys’ fees and costs.

COUNT |

FALSE CLAIMS ACT;
CAUSING PRESENTATION OF FALSE OR FRAUDULENT CLAIMS

94.  Thisis acivilaction by the Plaintiff, UNITED STATES, and the Relator, VEN-A-
CARE, on behalf of the UNITED STATES and on behalf of the Relator, against the
Defendants: APOTHECON, INC., BRISTOL-MYERS SQUIBB COMPANY, DEY INC.,
ROXANE LABORATORIES INC., SCHERING-PLOUGH CORPORATION, WARRICK |

PHARMACEUTICALS, under the False Claims Act, 31 U.S.C. §§3729-3732.
95. Relator realleges and incorporates by reference paragraphs 1 through 93 as

if fully set forth herein and further alleges as follows:

49
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 51 of 78

CIVIL ACTIO: 0.

96. The DEFENDANTS from a date on orbefore April 7, 1994, to the present date,
knowingly [as defined in 31 USC, §3729(b)] caused to be presented to officers or employees

of the STATES’ Medicaid Programs false or fraudulent claims [as explained in United States

v. Neifert-White, 390 US 228, 232-233 (1968)] for payment or approval, in-that the

DEFENDANTS caused to be presented to officers or employees of the STATES’ Medicaid
Programs false or fraudulent price and cost inform ation for the drugs specified herein and .
caused STATES’ Medicaid Programs to pay out sums of money to the providers and
suppliers of the DEFENDANTS’ specified drugs grossly in excess of the amounts permitted
by law, resulting in great financial loss to the STATES’ Medicaid Programs and the UNITED
STATES.
97. ~ Because ofthe DEFENDANTS’ conduct as set forth in this Count, the UNITED
STATES suffered actual damages in excess of Ten Million Dollars ($10,000,000.00), all in
violation of 31 U.S.C. §3729(a)(1).
COUNT IH
FALSE CLAIMS ACT; CAUSING A FALSE RECORD OR STATEMENT
TO BE MADE OR USED TO GET A FALSE OR FRAUDULENT
CLAIM PAID OR APPROVED BY THE GOVERNMENT
98. Thisisacivilactionby the Plaintiff, UNITED STATES, andthe Relator, VE N-A-
CARE, on behalf of the UNITED STATES and on behalf of the Relator, against. the
Defendants: APOTHECON, INC., BRISTOL-MYERS SQUIBB COMPANY, DEY INC.
ROXANE LABORATORIES INC., SCHERING-PLOUGH CORPORATION, WARRICK
PHARMACEUTICALS, under the False Claims Act, 31 U.S.C. §§3729-3732.

50
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 52 of 78

CIVIL ACTION ..O.

99. Relator realleges and incorporates by reference paragraphs 1 through 93 as
if fully set forth herein and further alleges as follows:

100. The DEFENDANTS, from a date onorbefore April 7,1994 to the present date,
knowingly [as defined in §3729(b)] caused false records or statements to be made or used
to get false or fraudulent claims [as explained in United States v. Neifert-White, 390 US 228,
232-233 (1968)] to be paid or approved by the STATES’ Medicaid Programs, in that the
DEFENDANTS, caused false records or statements of prices and costs of the
DEFENDANTS’ drugs specified herein to be used by the STATES’ Medicaid Programs to
pay or approve claims presented by the providers and suppliers of the DEFENDANTS’ .
specified drugs, which claims were grossly in excess of the amounts permitted by law,
resulting in great financial loss to the UNITED STATES.

101. Because of the DEFENDANTS’ conduct as set forth inthis Count, the UNITED
STATES suffered actual damages in excess of Ten Million Dollars ($10,000,000.00), all in
violation of 31 U.S.C. §3729(a)(2).

COUNT III
FALSE CLAIMS ACT; CAUSING FALSE RECORDS OR
STATEMENTS TO BE USED TO CONCEAL AN OBLIGATION
TO PAY MONEY TO THE GOVERNMENT

102. Thisis acivil action by the Plaintiff, UNITED STATES, and the Relator, VEN-A.
CARE, on behalf of the UNITED STATES and on behalf of the Relator, against the .
Defendants: APOTHECON, INC., BRISTOL-MYERS SQUIBB COMPANY, DEY INC.,
ROXANE LABORATORIES INC., SCHERING-PLOUGH CORPORATION, WARRICK

PHARMACEUTICALS, under the False Claims Act, 31 U.S.C. §§3729-3732.

51
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 53 of 78

ae

CIVIL ACTION WO.

103. Relator realleges and incorporates by reference paragraphs 1 through 93 as
if fully set forth herein and further alleges as follows:

104. The DEFENDANTS, from a date on or before April 7, 1994 to the presént date,
knowingly [as defined in §3729(b)] caused false records or statements to be made or used
to conceal obligations to pay money to the STATES’ Medicaid Programs, in that: the
DEFENDANTS knew that the STATES’ Medicaid Programs were using the DEFENDANTS’
false price and cost representations for purposes of paying or approving claims of the
providers and suppliers of the DEFENDANTS' specified drugs; the DEFENDANTS knew that
sums of money paid by the UNITED STATES and STATES’ Governments to the providers’.
and suppliers of the DEFENDANTS' specified drugs were grossly in excess of the amounts
permitted by law; the DEFENDANTS knew it was the obligation of the STATES’ and United
States’ Govemments to recoup governments funds paid in excess of the amounts permitted
by law; the DEFENDANTS, nevertheless, continued to cause the using and making offalse
records or statements of prices and costs for the specified drugs that were grossly in excess
ofthe reasonable amounts permitted by law; and the DEFENDANTS thus concealed from the
STATES’ Governments an obligation of the providers and suppliers of the DEFENDANTS’ ©
specified drugs to pay recoupment monies to the STATES’ Medicaid Programs, resulting in
great financial loss to the UNITED STATES and STATES’ Governments.

105, | Because of the DEFENDANTS' conduct as set forth in this Count, the UNITED
STATES suffered actual damages in excess of Ten Million Dollars ($10,000,000.00), all in

violation of 31 U.S.C. §3729(a)(7).

52
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 54 of 78

CIVIL ACTION ..0O.

COUNT IV

: FALSE CLAIMS ACT; CAUSING PRESENTATION OF
.FALSE OR FRAUDULENT CLAIMS; ILLEGAL REMUNERATION

106. Thisis a civil action by the Plaintiff, UNITED STATES, andthe Relator, VEN-A-
CARE, on behalf of the UNITED STATES and on behalf of the Relator, against the
Defendants: APOTHECON, INC., BRISTOL-MYERS SQUIBB COMPANY, DEY INC.,
ROXANE LABORATORIES INC., SCHERING-PLOUGH CORPORATION, WARRICK
PHARMACEUTICALS, under the False Claims Act, 31 U.S.C. §§3729-3732.

107. Relator realleges and incorporates by reference paragraphs 1 through 93 as
if fully set forth herein and further alleges as follows:

108, The DEFENDANTS, from on or about April 7, 1994to the present date, knew
that the prices charged to their customers for the specified drugs were significantly reduced
in amountfrom the prices and costs represented by the DEFENDANTS and upon which the
DEFENDANTS knew Medicaid claims would be approved and paid. Accordingly, the
DEFEN DANTS have each knowingly offered or paid, or caused to be offered or paid, directly
or indirectly, overtly or covertly, in cash or in kind, remuneration to their customers in the form
of price reductions and/or in the form of illegal remuneration from the STATES’ Medicaid
Programs to induce them to purchase, order or arrange or to recommend purchasing,
arranging or ordering the specified drugs for which the DEFENDANTS knew that payment
would be made, in whole or in part, by the STATES’ Medicaid Programs. Such financial
inducement is specifically prohibited by 42 US.C. §1320a-7b(b)(2) and 18 U.S.C§2.

109. The DEFENDANTS knew thatthe STATES’ Medicaid Programs would not pay

or approve claims for the specified drugs if it were disclosed to the STATES’ Medicaid
53
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 55 of 78

a

CIVIL ACTION NO.

Programs that said claims were for amounts that included remuneration prohibited by 42
U.S.C. §1320a-7b(b)(2).

110. The DEFENDANTS also knew that their customers, in presenting claims for the
specified drugs fothe STATES’ Medicaid Programs, would not and did notdisclose thatthe -
claim amounts included the remuneration prohibited by 42 U.S.C. §1320a-7b(b)(2).

111. TheDEFENDANTS' knowing and willful actions in arranging for their customers
toreceive remuneration prohibited by 42 U.S.C. §1320a-7b(b)(2), in causing the omission of
material information from the claims, and in causing the failure to properly disclose and
appropriately reflect the remuneration in the claims, caused the claims for the specified drugs
to be false and fraudulent claims and caused the claims to be presented to the STATES’
Medicaid Programs for payment and approval in violation of 31 U.S.C §3729(a)(1). Oo

112. Because of the DEFENDANTS’ conductas set forth in this Count, the UNITED
STATES suffered actual damages in excess of Ten Million Dollars (10,000,000.00) all in
violation of 31 U.S.C. §3729(a)(1).

COUNT V

FALSE CLAIMS ACT; CAUSING A FALSE RECORD OR
STATEMENT TO BE MADE OR USED TO GET
A FALSE OR FRAUDULENT CLAIM PAID OR APPROVED BY THE
GOVERNMENT; ILLEGAL REMUNERATION
113. Thisis acivil action by the Plaintiff, UNITED STATES, and the Relator, VEN-A-
CARE, on behalf of the UNITED STATES and on behalf of the Relator, against the
Defendants: APOTHECON, INC., BRISTOL-MYERS SQUIBB COMPANY, DEY INC., |
ROXANE LABORATORIES INC., SCHERING-PLOUGH CORPORATION, WARRICK

PHARMACEUTICALS, under the False Claims Act, 31 U.S.C. §§3729-3732.
54
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 56 of 78

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CIVIL ACTION NO.

114. Relator realleges and incorporates by reference paragraphs 1 through 93 as
if fully set forth herein and further alleges as follows:

115. The DEFENDANTS, from on or before April7, 1994 to the present date, knew
that the prices charged to their customers for the specified drugs were significantly reduced
in amount from the prices and costs represented by the DEFENDANTS and upon which the
DEFENDANTS knew Medicaid claims would be approved and paid. Accordingly, the
DEFENDANTS have each knowingly offered or paid, or caused to be offered or paid, directly
or indirectly, overtly or covertly, incash orinkind, remuneration to their customers in the form
of price reductions and/or in the form of illegal remuneration from the STATES’ Medicaid
Programs to induce them to purchase, order or arrange or to recommend purchasing,
arranging or ordering the specified drugs for which the DEFENDANTS knew that payment
would be made, in whole or in part, by the STATES’ Medicaid Programs. Such financial
inducement is specifically prohibited by 42 U.S.C. §1320a-7b(b)(2) and 18 U.S.C §2.

116. .-The DEFENDANTS knew that the STATES’ Medicaid Programs would not pay
or approve claims for the specified drugs if it were disclosed to the STATES’ Medicaid
Programs that said claims were for amounts that included remuneration prohibited by 42
U.S.C. §1320a-7b(b)(2).

117. The DEFENDANTS also knew that their customers, in presenting claims for the
specified drugs to the STATES’ Medicaid Programs, would not and did not disclose that the
claim amounts included the remuneration prohibited by 42 U.S.C. §1320a-7b(b)(2).

118. The DEFENDANTS’ knowing and willful actions in arranging for their customers

to receive remuneration prohibited by 42 U.S.C. §1320a-7b(b)2, in causing the omission of

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Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 57 of 78

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material information from the claims, and in causing the failure to properly disclose and
appropriately reflect the remuneration in the claims, caused the claims forthe specifieddrugs .
to be false records or statements that were made and used to get a false or fraudulent claim
_ paid or approved by the Government. The DEFENDANTS’ actions herein caused said false :
records or statements to be made and used as prohibited by 31 U.S.C. §3729(a)(2).
119. Because of the DEFENDANTS’ conduct as set forth in this Count, the UNITED
STATES suffered actual damages in excess of Ten Million Dollars ($10,000,000.00) all in
violation of 31 U.S.C. §3729(a)(2).
COUNT Vi

FALSE CLAIMS ACT; CAUSING PRESENTATION OF
-FALSE OR FRAUDULENT CLAIMS; PROHIBITED REFERRALS,
CLAIMS AND COMPENSATION ARRANGEMENTS

120. Thisisacivilactionby the Plaintiff, UNITED STATES, and the Relator, VEN-A-
CARE, on behalf of the UNITED STATES and on behalf of the Relator, against the
DEFENDANTS: APOTHECON, INC., BRISTOL-MYERS SQUIBB COMPANY, DEY INC.,
ROXANE LABORATORIES INC., SCHERING-PLOUGH CORPORATION, WARRICK
PHARMACEUTICALS under the False Claims Act, 31 U.S.C. §§3729-3732.

121. Relator realleges and incorporates by reference paragraphs 1 through 93 as
if fully set forth herein and further alleges as follows:

122. The DEFENDANTS, from on or before April 7, 1994 to the present date,
knowingly presented or caused to be presented, prohibited claims or bills to individuals and
other entities for designated health services [outpatient prescription drugs] fumished pursuant

to prohibited referrals from physicians, physician groups and/or outpatient clinics with which

56

Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 58 of 78

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CIVIL ACTIOn. AO.

the DEFENDANTS had financial relationships, for which the DEFENDANTS knew that
payment would be made, in whole or in part, by the STATES’ Medicaid Programs. Such
prohibited referrals, claims, bills and compensation arrangements are specifically prohibited
by 42 U.S.C. §1395nn(a)(1)(B) and 18 U.S.C §2.

123. The DEFENDANTS knew that the STATES’ Medicaid Programs would not pay
or approve claims for the outpatient prescription drugs to the STATES’ Medicaid Programs
that said claims were for amounts that included claims or bills prohibited by 42 U.S.C.
§1395nn(a)(1)(B).

124. TheDEFENDANTS knowingly presented or caused their referring physicians,
physician groups and outpatient clinics to present claims or bills for the DEFENDANTS'
outpatient prescription drugs to the STATES’ Medicaid Programs for payment or approval
that were false or fraudulent.

125. The DEFENDANTS’ knowing actions in having compensation arrangements
for its referring physicians, physician groups and outpatient clinics prohibited by 42 U.S.C.
§1395nn(a)(1)(B) and in presenting or causing the presentment of prohibited claims in
violation of 42 U.S.C. §1395nn(a)(1)(B) for payment or approval caused the claims for the
outpatient prescription drugs presented to the STATES’ Medicaid Programs to be false or
fraudulent claims in violation of 31 U.S.C §3729(a)(1).

126. Because ofthe DEFENDANTS’ conduct as set forth in this Count, the UNITED _
STATES suffered actual damages in excess of Ten Million Dollars ($10,000,000.00) all in

violation of 31 U.S.C. §3729(a)(1).

of
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 59 of 78

CIVIL ACTION NO.
COUNT Vil

FALSE CLAIMS ACT; CAUSING A FALSE RECORD OR
STATEMENT TO BE MADE OR USED TO GET
A FALSE OR FRAUDULENT CLAIM PAID OR APPROVED BY THE
GOVERNMENT; PROHIBITED REFERRALS,

CLAIMS AND COMPENSATION ARRANGEMENTS

127. Thisis acivilaction by the Plaintiff, UNITED STATES, and the Relator, VEN-A-
CARE, on behalf of the UNITED STATES and on behalf of the Relator, against the
DEFENDANTS: APOTHECON, INC., BRISTOL-MYERS SQUIBB COMPANY, DEY INC., .
ROXANE LABORATORIES INC., SCHERING-PLOUGH CORPORATION, WARRICK
PHARMACEUTICALS, under the False Claims Act, 31 U.S.C. §§3729-3732.

128. Relator realleges and incorporates by reference paragraphs 1 through 93 as
if fully set forth herein and further alleges as follows:

129. The DEFENDANTS, from on or before April 7, 1994, to the present date,
knowingly presented or caused to be presented, prohibited claims or bills to individuals and
other entities for designated health services [outpatient prescription drugs] furnished pursuant
to prohibited referrals from physicians, physician groups and/or outpatient clinics with which _
the DEFENDANTS had financial relationships, for which the DEFENDANTS knew that
payment would be made, in whole or in part, by the STATES’ medicaid programs. Such
prohibited referrals, claims, bills and compensation arrangements are specifically prohibited
by 42 U.S.C. §1395nn(a)(1)(B) and 18 U.S.C §2.

130. TheDEFENDANTS knew thatthe STATES’ Medicaid Programs would not pay

or approve claims for the outpatient prescription drugs if it were disclosed to the STATES’

58
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 60 of 78

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Medicaid Programs that said claims were for amounts that included claims or bills prohibited
by 42 U.S.C. §1395nn(a)(1)(B).

131. The DEFENDANTS knowingly made or used or caused their-referring
physicians, physician groups or outpatient clinics to make oruse false records or statements
to get false or fraudulent claims and bills for the DEFENDANTS’ outpatient prescription drugs
to be paid or approved by the STATES’ Medicaid Programs.

132. The DEFENDANTS’ knowing presentment or causing others to present, claims
or bills to the STATES’ Medicaid Programs in violation of 42 U.S.C. §1395nn(a)(1)(B) without
disclosing facts revealing said violations constituted the making or using, or the causing
others to make or use, false records or statements to get false or fraudulent claims paid or
approved in violation of 31 U.S.C. §3729(a)(2).

133. Because ofthe DEFENDANTS ' conduct as set forth in this Count, the UNITED
STATES suffered actual damages in excess of Ten Million Dollars ($10,000,000,00) alll in
violation of 31 U.S.C. §3729(a)(2).

REQUESTS FOR RELIEF

WHEREFORE, the Relator, on behalf of the UNITED STATES, demands thatjudgment
be entered in its favor and against DEFENDANTS: APOTHECON, BRISTOL-MYER SQUIBB,
DEY, ROXANE LABORATORIES, SHERING-PLOUGH and WARRICK
PHARMACEUTICALS , with judgment to be entered against each defendant for the amount
of damages: to the UNITED STATES arising from claims for each Defendant's respective .

specified drugs as follows:

59
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 61 of 78

CIVIL ACTIO. 0.

1. On Count I (False Claims Act; Causing Presentation of False Claims) fortriple
the amount of the UNITED STATES' damages, plus civil penalties of no more than TEN
THOUSAND DOLLARS ($10,000.00) and no less than FIVE THOUSAND DOLLARS
($5,000.00) for each false claim;

2. - OnCount|Il (False Claims Act; Causing False Statements To Be Used To Get
False Claims Paid By The GOVERNMENT) for triple the amount of UNITED STATES’
damages plus civil penalties of no more than TEN THOUSAND DOLLARS ($10,000.00) and
no less than FIVE THOUSAND DOLLARS ($5,000.00) for each false statement:

3. On Count Ill (False Claims Act; causing False Statements To Be Used To
conceal An Obligation To Pay Money To The GOVERNMENT) for triple the amount of the
UNITED STATES’ damages plus civil penalties of no more than TEN THOUSAND DOLLARS
($10,000.00) and no less than FIVE THOUSAND DOLLARS ($5,000.00) for each false or .
fraudulent claim paid;

4, -On Count IV (False Claims Act; Causing Presentation of False and Fraudulent
Claims; Illegal Remuneration) for triple the amount of the UNITED STATES' damages, plus
civil penalties of no more than TEN THOUSAND DOLLARS ($10,000.00) and no less than
FIVE THOUSAND DOLLARS ($5,000.00) for each false claim;

5. On Count V (False Claims Act: Causing A False Record Or Statement To Be
Made Or Used To Get A False Or Fraudulent Claim Paid Or Approved by the Government;
“Illegal Remuneration) for triple the amount of UNITED STATES' damages plus civil penalties
of no more than TEN THOUSAND DOLLARS ($10,000.00) and no less than FIVE

THOUSAND DOLLARS ($5,000.00) for each false statement;

60
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 62 of 78

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6. On Count Vl (False Claims Act; Causing Presentation of False or Fraudulent
Claims; Prohibited Referrals, Claims and Compensation Arrangements) for triple the amount
of the UNITED STATES' damages, plus civil penalties of no more than TEN THOUSAND
DOLLARS ($10,000.00) and no less than FIVE THOUSAND DOLLARS ($5,000.00) foreach
false statement;

7. On Count Vil (False Claims Act; Causing a False Record or Statement to be
Made or Used to get a False or Fraudulent Claim Paid or Approved by the Government:
Prohibited Referrals, Claims and Compensation Arrangements) for triple the amount of the
UNITED STATES' damages, plus civil penalties of no more than TEN THOUSAND DOLLARS
($10,000.00) and no less than FIVE THOUSAND DOLLARS ($5,000.00) for each false
statement; oo

8.  Forall fees and costs of this civil action; and

9. For such other and further relief as the Court deems just and equitable.

Further, the Relator, on its behalf, requests that it receive thirty percent (30%), [twenty-
five percent (25%) ifthe United States Government intervenes and proceeds with this case]
or such other maximum amount as permitted by law, of the proceeds of this action or
settlement of this action collected by the UNITED STATES, plus an amount for reasonable
expenses incurred, plus reasonable attorneys' fees and costs of this action. The Relator
requests that its percentage be based upon the total value recovered, including any amounts

received from individuals or entities not parties to this action.

61
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 63 of 78

CIVIL ACTION WO.

DEMAND FOR JURY TRIAL

A jury trial is demanded in this case.

COUNSEL:

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eeW. Wampler, III J
rida Bar No. 311227

Lo fo

isfed Breen

FJérida Bar No. 297178
Attorneys for the United States
of America by and through

Ven-A-Care

of the Florida

Keys, Inc., the Relator

WAMPLER, BUCHANAN & BREEN, P.A.

900 Sun Trust Building

777 Brickell

Avenue

Miami, Florida 33131

Telephone:
Facsimile: -

(305)577-0044
(305)577-8545

Respectfully submitted,

Attomeys for

the Private Person Plaintiff,
Ven-A-Care of the Florida Keys, Inc.

Francis D. Dibble, Jr.
BBO No.: 123220
Katherine A. Robertson
BBO No. 557609
Bulkey, Richardson and Gelinas, LLP
1500 Main Street, Suite 2700
Springfield, MA 01115-5507

- Telephone: 413-781-2820

62

Facsimile: 413-785-5060
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 64 of 78

CIVILACTIO 10.

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 10" day of April, 2000, | caused an original anda copy
of this Complaint to be filed under seal and in camera for sixty (60) days and notto be served
on the Defendants named herein or until further order of this Honorable Court. ..

| HEREBY CERTIFY that prior to this 10" day of April, 2000, | caused a copy of this
Complaint and written disclosure of substantially all material evidence and information the
Relator, VEN-A-CARE possesses to be served on the Govemment pursuant to Rule 4(i)(1)(A)
and (B), Fed.R.Civ.P., prior to the filing of this Complaint by delivering a copy of the
. Summons, Complaint, material evidence and information to the United States Attorney forthe .
District of Massachuecettes, and by sending a copy of the Summons, Complaint, material
evidence and information by Certified Mail, Return Receipt Requested, to the Attorney
General of the United States in Washington, D.C.

Respectfully submitted,

Francis D. Dibble, Jr.
BBO No.: 123220
Katherine A. Robertson
BBO No, 557609

OF,COUNSEL:
Le A— Lib

leeQW. Wampler, Ii”
orida Bar No. 311227

land JéBreen
prida Bar No. 297178

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63
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 65 of 78

TO: WBB . AT: 13055//8545
TDH
Texas Department of Health .
William R, Archer 111, M.D, hip://www. tdh.state.cous - Parti J, Patterson, M D MPH. :
Commissioner of Health . . . Executive Deputy Commissioner
. {100 West 49h Street ‘
Austin, Texas 78756-3199
(532) 498-7011

Under the Omnibus Budget Reconciliation Act (OBRA) of 1990, the state of Texas Vendor Drug Program
will continue to request completed questionnaire as a requirement for the production addition to the Texas
Vendor Drug Index (T VDI). A form is included so that all necessary information from the manufacturer will
be available for pricing and dosing recommendations. Questionnaires should be limited to no more than 20
per submittal request for any one month period. A separate questionnaire is to be submitted for each drug
and strength. Pleases or sheet listing 3 engths and package sizes Q

B b i 5 ML Droge sirengins 3 ACKAL S JOP Wilich Af
submitting applications, Questions must be answered in full (NQ-N/A). This form may be reproduced.

All inquiries regarding this questionnaire for BVD and revisions are to be directed to:

Texas Department of Health
‘BureauVendor Drug
1100 West 49th Street.
Austin, Texas 78756-3174

Drugs are listed in the BVD nsing the NDC number of the manufacturer or distributor who is holding the
drug forth as his own and has his company's name on the label of the container that is sold to the pharmacy.
- Ifyour company has 2 product to which the "New Drug Coverage" applies, please add the FDA approval
date of the New Drug Application (NDA), Product License Approval (PLA), Establishment License
Approvat (ELA), or.Antibiotic Drug Approval (ADA) to the questionnairc. .

Martha McNeill, R.Ph.

Director of Product Management
Bureau of Vendor Drug
(512)338-6965

(512)338-6462-Fax
(512)338-6932-Secretary

EXHIBIT “1"

. an Equal Employment Opportunity Employer oa

Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 66 of 78
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REQUEST FOR INFORMATION FOR NEW DRUG PRODUCT OR FO
R
. ADDITIONAL INFORMATION OF PRODUCTS CURRENTLY
INCLUDED IN TEXAS MEDICAID

Please fill out the following information for consideration on Texas Medicaid

(CLUDE A COPY OF FILE CARD, PACKAGE INSERT AND OR MATERIAL FOR PHY: SICIANS

DRUG DESCRIPTION
NDC. NO: PACKAGE QTY:

(multiple package size of same strength products may be included’

>RODUCT BRAND NAME;
JENERIC NAME:
‘*STRUCTURALLY RELATED DRUGS:

DRUG STRENGTH:
SOLOR: FLAVOR: __ | ORANGE BOOK RATING:

JOSAGE-FORM IS THIS DRUG DEA SCHEDULE OF THE
LEGEND OR OTC? DRUG:

MAXIMUM DAILY DOSE:
RECOMMENDED DAILY DOSE:
INGREDIENTS/DESCRIPTION:

"LIST SHELF LIFE:
*ESTIMATED AVG. DURATION OF THERAPY:
*#MAXIMUM DURATION OF TREATMENT:

A - Drug products that FDA considers to be therapeutically equivalent to other
pharmaceutically equivalent products.

B - Drug products that FDA at this time, considers not to be therapeutically equivalent to
other pharmaceutically equivalent products.

C- Not listed in Orange Book
“* NEW ADDITIONAL INFORMATION - revised (April 1, 1998)

la Equal Employment Opportunity Employer
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 67 of 78

GIVE Dbe VbIN TN written wee ee ey

“ATTACH COPIES OF PRICE LIST & ADD TO MAILING LIST IF NOT CURRENTLY LISTED**

PRICE INFORMATION
AVERAGE OF SUGGESTED WHOLESALE PRICE TO PHARMACY (AWP) $
"RICE TO WHOLESALER AND/OR DISTRIBUTOR $
MRECT PRICE TO PHARMACY $
*RICE TO CHAIN WAREHOUSE $
$

"INSTITUTIONAL OR OTHER CONTRACT PRICE**
(Nursing Home, Home Health Care)

ITHER PRICE $

Ine set of price lists is sufficient for multiple submittals.

Please circle the companies to whom you report pricing information.

(RST DATA BANK PRICE ALERT RED BOOK
[EDI-SPAN oe BLUE BOOK
THER.

, Do you sell to distributors, repackagers, or relablers, other than full-service drug wholesalers, who in turn
sell your product to the retail trade bearing your NDC number?

If yes, attach a listing.

. Attach a copy of your sales agreement with retail pharmacists (contract, policy, etc)
Attach a copy of your Vendor Liability Insurance:
a. Included or

b, Previously submitted or unchanged. (Do not need to resubmit)

. Available date through WHOLESALERS

An Equal Emplaymeat Opportunity Employer
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 68 of 78

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Name of firm:

Address:

City: State: Zip:

Name and address of Manufacturer of drug:

City: State: Zip:

Name and Address of representatives/government affairs persons covering the Texas area; if applicable:

City: State: . Zip:

Phone:

. Is this Product now marketed under an approved NDA or ANDA?

Submit a copy of the FDA letter of approval of the NDA or ANDA, or, if not applicable, a copy of the FDA
letter of approval for marketing.

), Please circle DESI classification of this product.
2 Non-DESIARS: safe and effective
3 DESI/IRS under review
4 LTE DESIIRS for some indications
5 Non-Covered - LTE DESIARS for all indications

6 Non-Covered - LTE DESI/IRS withdrawn form the market

la Equal Employment Opportunity Employer
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 69 of 78

aha D dt he Oe oe tee rte “ ,

\ product added to the Texas Vendor Drug Program must bear the labeler code, as defined by the FDA, of the
arty, with the exception ofa bonafide full-service drug wholesaler, marketing the final sale to the provider.

danufacturers or distributors having one or more of their pharmaceuticals included in the program are responsible

ot submitting notification of any changes pertaining to any of the above information not later than such revisio
re scheduled to occur to; .

Texas Department of Health |
Bureau of Vendor Drug
Attn: Martha MeNeill, R.Ph.
Director of Product Management
1100 West 49th Street
Austin, Texas 78756-3174

certify that the information submitted is correct to the best of my knowledge and that this product is not now in
solation of either Federal or State Law. [also agree to inform the Texas Department of Health, in writing, of any
hanges in formulation, product status, price or availability as herein describe, within fifteen (15) days of such :
hange. v4

responsible Person (Type or Print) Signature

Citle

Address City State Zip
(___)

Company Name Telephone

An Equal Employment Opportunity Employer
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 70 of 78

First DataBank

New Product Submission Form

For your convenience, you may use this form to add praducts to the National
Drug Data File (NDDF). Please make copies of this form for each add.

NDC Number

UPC Number

Product Name

RX or OTC

Package Size (Gl, in, each)

Dosage Form (tablet, capsule,
powder filled vial, ampul,
ointment, etc...)

Wholesale (Distributor) Price

Direct Price

AWP Price

Effective Date (start ship date)

Active Ingredients & strengths
(Package Insert and Label are
preferred.)

Company Name: __.
Your Name: :
Telephone:

The Hearst Corporation, {111 Bayhlll Drive, San Bruno, California 94066 Tel: (415)588-5454 Fax: (425)S88-6867

EXHIBIT “2"
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 71 of 78

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7500 North Natchez Avenue, Niles, IIlinois 60714-3804 © Telephone 1 800 547-3869

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aks POO chen
oo f gene sf. . c ee (
Gerry F. Wello ee Ww mM den
Pharmacy Program Manager . | noeh
Medicaid Pharmacy Services a 9

Agency for Health Care Administration ON, ao

1317 Winewood Blvd. ~~ ,

Tallahassee FL 32301-0700 ea seinen s00

Dear Ms. Wello:

Warrick Pharmaceuticals, a unit of Schering-Plough Corporation, is pleased to announce the availability
of Griseofulvin Ultramicrosize Tablets, USP, 2 generic to Fulvicin®P/G (griseofulvin ultramicrosize)
Tablets, USP. Product information for package sizes and pricing information is as follows:

Cc

eae Snel ee ae SR lesen ' ois a
Direct | py

Wholesale! || ~ q l
Package NDC # Chain *
PRODUCT / Size 59930- AWP Price

© Griseofulvin Tablets, USP 125 mg 100 "4620-1 | $33.11 $24.95 2070
> Griseofulvin Tablets, USP 250 mg 100 "1621-1 $64.96 $48.75 152d)lo
0 Griseofulvin Tablets, USP 330 mg 100 1624-1 $82.47 sores | O6.!

Please be advised that Warrick does not sell direct to retail pharmacies. Package Inserts, statement
of Therapeutic Bquivalence, and the FDA Approval Letter are enclosed. See INDICATIONS section
of package insert for Indications/Use. This product i is being marketed under the Pulvicin P/G NDA, #61-
996. This information is provided in the event it is required for reimbursement purposes. If you require
additional information, please do not hesitate to contact us.

Sincerely.

Phyllis T. Sinoradzki
: _ Executive Assistant

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PDMIP

EXHIBIT “3"

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of
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 72 of 78

of"

$\Roxane

Laboratories, Inc.

P.O. Box 16532 © Columbus, Ohio 43216-6532 « Phone 614/276-4000 © Fax 614/274-0974
September 26, 1994

Susan McCloud
Acting Pharmacy Program Manager cA .
Medicaid Office of Program Development use LPR ‘ A
Department of Health de Rehubiliative Services (hig gra Jord cow” “oO fda pe
B-6, R-280 \ eS pod
Tallahassee FL 32399-0700 Cx c.wrer. vi
i Ave, wt SU
- MEDICAID PRODUCT ADDITION NOTIFICATION: ot pm
Trade Name: sot applicable awe
Generic Name: Methotrexate Tablets USP, 2.5 mg by
Dosage Form & Strength: tablet, 2.5 mg \
NDC Package Direet Wholesale Awe =< %,¢ */
(0054) Size Price Price we
aah 4550-25 Bottle of $188.40 $157.00 +2%/t97% © -9305.16— 4s So
ov . 100 Tablets
4550-15 . Bottle of $69.60 $58.00 $133.88
36 Tablets”
451 8550-25 10 x 10 $206.80 $172.33 +2% 2651397 $305.16 ~ 0.6 “2
UD Blisters
—
vw 8550-03 4x2 $17.85 $15.50 $23.00
, yw Dosage Pack .
\2* . 1.47 69-9%* 24> ahry
S"  g550-05 4x3 $26.50 3 $23.00 ser $35,00 ~ Pee
yaa Dosage Pack és “24,9
8550-06 4x4 $35.35 $30.75 $49.00
Dosage Pack or
8550-07 4x5 $44.25 $38.50 $61.00
Dosage Pack é3
8550-10 4x6 $53.25 $46.25 $72.00
Dosage Pack cy

NDA Number: _40-054 Approval Date: _ 3-1-94

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Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 73 of 78

12125 Moya Bovievard, Reno, Newor 67506-2400 « Telepnanie’l 600S47-3849

oF

March 6, 1997

Ms. Martha McNeil
Texas Department of Health
Vendor Drug Program

_ Texas State Medicaid
1100 West 49th Street
Austin, Texas 78756-3174

Dear Ms. McNeil:

Enclosed please find a copy of the most current Warrick Pharmaceuticals Product Line which
includes the Product Name, Package Size, NDC#, Therapeutic Rating, AWP and WAC pricing. |

Please call Ms, Amy Stivale at 908-629-3604 if you require anything further.

Regar ands,
Thus “yt aytet
Louis Manfredi
Mansger
Business Development
LMsjs
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EXHIBIT “4"

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Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 74 of 78

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a) Sats rs pane Pik
1S $9990-1570-1 | AT 1.85 6.25
Clotrimazole Crea, USP 1% gt 59990-150-2 | AT {3.40 10,50
454 $9930-1S70-3_| AT 16.25 12.15
ax45g | 59930-19709 | AT 22.25 17.50
Flurbiprofen Tablets, USP 50 mg 109 so-t77i-t | AB 68,02 42.25
Pharhiprofen Tablets, USP 100 mg 100 $9990-1772-1 | AB 107.58 65.00
500 $9930-1772-2_| _AB 521.16 292.50
Tablets 1.25 100 59930-1592-1 | AB 18.35 8.60
Gtyburide Tables 25mg 100 59930-1622-1_ | AB 30.60 12.65
100 59930-1639-1 | AB 53.00 18.88
Ciybatide Tablets 5 mg 500 59930-1639-2 | AB 228,00 29.70
1000 $9930-169-3 | AB 440,00 170.00
Griseofulvin Ultramlerosize Tabless, USP 100 59930-1620-1 | AB 93.11 27.43
b_ 125 me
Griseofuivin Ultramiccocins Tablets, USP 100 59930-L621-1 | AB 64.96 53.80
4 250 my
Griseofalvin Uleramicrosize Tablets, USP 100 599730-1624-1 ] AB £2.47 68.50
330 mg
Metoprotal 50 mg 100 59930-1795-1 | AB 41.75 10.12
Metoproiot 100 mg 100 59930-1797-1 | __ AB 62.75 15.40
Mexiletine HCI Caprules, USP 150 mg 100 $9930-1685-1 | AB 69.24 54.35
Mexiletine HCI Capmules, USP 200 mg 100 59930-1686-1 | AB $2.2 64.15
f_Mexiletine HC] Capsules, USP 250 me 100 59930-1687-1_ | AB 95,66 ‘75.90

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Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 75 of 78

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Affaxcrol, USP Inhalarion Aerosol {7 ¢ Bax of t 59930-1560-1_ | AN $21.41 $21.41
Aluternl, USP fohslation Aerosol Rel 17¢ | Borat | s9930-1560-2 | AN 19.79 19.39
Albaterol Sulfsic, USP Tablets 2 mg 100 * $9930-1520-1 As 23.65 2.50
son " $9930-1520-2 | AB 112.25 3.69
Altusterel Sulfate, USP Tablets 4 mg 100 59930-1530-1 | AB 35.20 |." 4.50
0 59930-15302 | AB 168.25 17.38
Atbaterol Sulfare, USP Inhalation COximL | $9930-15006 | AN 72.60 44.86
Sotueioa, 0.083% :
WSx3nL | 59930-15008 | AN 20.25 18.69
Albuterol Sulfase, USP Solucica for 20 mf, 59930-15154 AN 14.99 9.45
Inhslation, 0.5%
Alboterol Sulfate, USP Syrup, 1602. $9930-1510-5 | AA 24.15 9.95
2 mg/S mL
‘Sy 59930-1575-1 | AT 21.47 16.46
one 45¢ 9930-15752 | AT 43.20 33.03
: Me | somoisisa | at 51.30 42.75
Captopril Tablets, USP 12.5 mg 100 59930-1655-1 | AB 59.13 3.50
100 59930-1656-1 | AB 63.93 6.75
Copoprdl Tabless, USP 25 mg 500 59930-16562 | AB 303.66 32.91
1000 $9930-16563 | AB $65.95 64.13
: 100 59930-1657-1_ | AB 109.62 12.00
Capropeil Tablexs, USP 50 mg 500: 59930-1657-2 | AB 520.71 58.50
1000 59930-1657-3 AB 989.36 124.00
Captopril Tebless, USP 100 mg 100 $9930-1658-1 | AB 149.98 22.00
100 59930-18001 | AB 79.92 16.92
Cimetidine Tablets 200 mg 500 59930-18002 | AB 388.60 166.14
1000 59930-1800-3 | AB 799.20 313.82
. 100 $9930-1801-1 | AB 1.65 38.64
Cimetidine Tablets 300 mg
300 59930-1801 -2 AB 418.26 173.88
1000 . $9930-1801-3 | AB. $36.52 328.44

Case 1:01-cv-12257-PBS Document 6639-40

Filed 11/03/09 Page 76 of 78

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Rerpheuaztne Tablets, USE 2 mg 100 S9TW-1600-1 | AB $ 46.00 $21.85
Pexpbenstine Tablets, USP 4 mg 100 59930-1603-1 AB 65.00 28.85
Perpheoazinn Tablets, USP A mg 100 sopso-neos.t | ap 78.00 35.58

[| Pecphenazinn Tablets, USP 16 mg 09 smo-tciot | 4B 108.00 42.03

6 s9770-1537-1_ | AB ims | 91.96
Seclegine HG Tables, USP 5 me 500 sso-iss72_|. AB | 1010.20 £08.16 |
1000 somo-tss7-s_| AB | — 2000.00 1600.60
100 59930-1650-1_| _ AB 11,70 431
Taken ‘one $00 $9930-1650-2_| AB 18.00 19.00
1000 59930-1650-3 | AB 74,00 36.57
100 57930-1660-1_|_AB 19,00 625
eee 500 59700-16002 | AB $2.00 28.75
1000 59930-16603 | __AB 135,00 W903
100 $9900-1670-1 | _AB 72.00 8.00
oom $00 39930-16702 | _AB 98.00 38.29
1000 59930-1670-3 | _AB 190.00 BA
Theophylline Exxended Release 100 s9930-1680-1 | AB Z1.15 wa
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P.O. Box 4500 Princeion. NTOAS4S-4500 609 897.2000

Navember 7, 1996

P.O, Box 12600
Tallahassee, FL 32317-2600

Dear Ms. McLeod:
Tam writing to inform you of changes in the availability for Apothecan’s Atsnolol $0 mg and 100 mg tablets.
The previous NDC numbers, new NDC numbers, and pricing information for thesc products ans listed below,

Products beasing the old NOC oumbers will be availablo watil current atocks are depleted. The Isat expiration datc
for producte with the previous NOC mumbers is November 1, 1998.

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. Sareea ae eee zfareet aE WAGES) CAME iy.

“Atenolol 56 mg Tablom, 00's | 00003.5040.50 | 62265.0256-24 S58,68 $55.75 $66.90
AtgaSiol 50 mg Tablets 1000's | O0003-5040-75 | 62269-0256-54 | $526.52 $500.00 $600.00
Arcnalol {OOme Tablets, 190's | 00003-5240.80 | 62269-0257.24 $84.42 $80.20 $96.24

- Apothscon is a participating manufacturer in the Medicaid rebate agreement. Pricing information has becn

sent to First Databank, Red Book, and Medi-Span.
. Ifyou have any quesiions, please do not h: sitate no contac| me at (609) 89792476 or (609) 897-6349 (fax).
Sincerely,

Nick DiMaio
Axsoclate Director, Markcting

EXHIBIT “5"
& A Bristol-Myers Squibb Cesnpany
Case 1:01-cv-12257-PBS Document 6639-40 Filed 11/03/09 Page 78 of 78

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PQ Bax 4500 Prinecion, N}OBS43-4500 609 897-2000

Recember 5, 1996

Susann Mcleod, R.Ph.
Senior Pharmacist
Medicaid Offica
P.O, Box 12600
Tallahassee, PL. 32317-2600

Dew Ms. McLeod:

I am writing to amend information submitted ta you on November 7, 1996 related to Apothecon's
Atenolol Tablets, The corrected NDC number for Atsnolol 50 mg, bottle of 1000 is shown below.
In addition, wholesaler acquisition cost (WAC) for these products ig provided, Previously
rubmitted pricing information included the wholesaler list price which is based oo svorage
wholesale price (AWF).

L.  erodat AC OGG sit Y) e
ate Re ee peo
Ateoonol $0 mg Tablase, 100's | 62269-0256424 $3.96 $69.69
Atenolol $0 mg Tablets, 1000's | 62269-0256-30 $30.59 $625.00
Atenalo! 100 me Tablets, 100's [| 62269-0257-24 $6.51 $100.25

Thank you for your axsistance. Please do not heeltats to call me at (609) 897-2476 if you bave any

Sincerely,

Nach Di Maca fpr
Nick DiMaio
Associate Director, Marketing

EXHIBIT “6"

& A Gristol-Myers Squibb Compsery
